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                                EXHIBIT 1
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         1                    UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
         2                             MIAMI DIVISION
         3    -----------------------------§
              OMAR SANTOS and AMANDA             §
         4    CLEMENTS on behalf of              § Case No. 1:19-cv-23084-KMW
              themselves and all others          §
         5    similarly situated,                §
                                                 §
         6           Plaintiffs,                 §
                                                 §
         7    vs.                                §
                                                 §
         8    HEALTHCARE REVENUE RECOVERY        §
              GROUP, LLC, d/b/a ARS              §
         9    ACCOUNT RESOLUTION SERVICES, §
              and EXPERIAN INFORMATION           §
        10    SOLUTIONS, INC.,                   §
                                                 §
        11           Defendants.                 §
                                                 §
        12    -----------------------------§
        13                                  - - -
        14                        Thursday, May 21, 2020
        15                                  - - -
        16               Remote deposition of PATRICK BRENNAN,
        17     commencing at 10:31 a.m., on the above date, before
        18     Susan D. Wasilewski, Registered Professional
        19     Reporter, Certified Realtime Reporter, Certified
        20     Manager of Reporting Services, Certified Realtime
        21     Captioner, and Florida Professional Reporter
        22                                  - - -
        23                      GOLKOW LITIGATION SERVICES
        24                 877.370.3377 ph | 917.591.5672 fax
        25                            deps@golkow.com

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        24
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         7

         8     ALSO PRESENT REMOTELY:
         9         JAMES VONWIEGEN, Videographer
        10

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         8
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        12
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         1                            E X H I B I T S

         2                      (Attached to transcript)

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         1                                  - - -

         2               THE VIDEOGRAPHER:      We are now on the record.

         3         My name is James Vonwiegen.        I'm a videographer

         4         for Golkow Litigation Services.        Today's date is

         5         May 21st, 2020, and the time is 10:31 a.m.

         6               The remote video deposition is being held in

         7         the matter of Omar Santos vs. [sic] Amanda

         8         Clements vs. HRRG, LLC, for the United States

         9         District Court, for the Southern District of

        10         Florida, Miami division.

        11               The deponent is Patrick Brennan.         All

        12         parties to this deposition are appearing remotely

        13         and have agreed to the witness being sworn in

        14         remotely.    Due to the nature of remote reporting,

        15         please pause briefly before speaking to ensure

        16         all parties are heard completely.

        17               Will the counsel now please identify

        18         themselves.

        19               MR. TELLIS:    Good morning.     Roland Tellis

        20         with Baron & Budd on behalf of the plaintiffs.

        21               MR. RABURN:    Good morning.     Jonathan Raburn

        22         on behalf of the plaintiffs from McCarthy &

        23         Raburn.

        24               MR. MANN:    Jonas Mann from Baron & Budd,

        25         also for the plaintiffs.

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         1               MR. KOHLMYER:     Good morning.     Ernest

         2         Kohlmyer on behalf of Healthcare Revenue Recovery

         3         Group, LLC, doing business as ARS Account

         4         Resolution Service.      I'm with the law firm of

         5         Shepard Smith Kohlmyer & Hand.

         6               MR. TAYLOR:    Will Taylor from Jones Day on

         7         behalf of Defendant Experian Information

         8         Solutions, Inc.

         9               THE VIDEOGRAPHER:      The court reporter is

        10         Susan Wasilewski and will now swear in the

        11         witness.

        12               THE COURT REPORTER:      Would you raise your

        13         right hand?

        14               Do you solemnly swear or affirm the

        15         testimony you're about to give will be the truth,

        16         the whole truth, and nothing but the truth?

        17               THE WITNESS:     I do.

        18               THE COURT REPORTER:      Thank you.

        19               PATRICK BRENNAN, called as a witness by the

        20     Plaintiffs, having been duly sworn, testified as

        21     follows:

        22                          DIRECT EXAMINATION

        23     BY MR. TELLIS:

        24         Q.    Good morning, Mr.      Brennan.    I just

        25     introduced myself.      My name is Rolan Tellis.       I

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        1     represent the plaintiffs and I'm here to take your

        2     deposition today.      Do you understand?

        3        A.     I do.

        4        Q.     You've had your deposition taken before?

        5        A.     Yes, I have.      It's been a while, but I have.

        6        Q.     All right.      Well, since it's been a while,

        7     let me just remind you of a few of the ground rules

        8     so today will go as smoothly as possible.         Okay?

        9        A.     Sure.

       10        Q.     First and foremost, you understand you are

       11     being -- you're testifying today under oath?

       12        A.     I do.

       13        Q.     The oath that you were just provided would

       14     be the same oath that you'd be given in a court of

       15     law.    Do you understand that?

       16        A.     I do.

       17        Q.     Okay.    And everything that's being said here

       18     today is being transcribed by the court reporter and

       19     for that reason it's important that we not talk over

       20     one another.      Okay?

       21        A.     Okay.

       22        Q.     Okay.    It's also important that you give me

       23     audible responses as opposed to a shaking of the

       24     head in one direction or the other so we get a clear

       25     transcript.    Understood?

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        1        A.    I do.

        2        Q.    Okay.   If at any time you don't understand a

        3     question I've asked you, please let me know and I'll

        4     do my best to rephrase it.       Okay?

        5        A.    Sure.

        6        Q.    The flip side of that is if you answer a

        7     question I've asked you, I'm going to assume that

        8     you understood it.     Okay?

        9        A.    Okay.

       10        Q.    All right.    Your lawyer may make objections

       11     from time to time to questions I am asking.           He's

       12     doing that to protect the record.         Unless he

       13     instructs you not to answer, I'm going to be

       14     entitled to an answer to my question.         Okay?

       15        A.    Okay.

       16        Q.    All right.    Are you on any medication or is

       17     there any other reason that you can't give me

       18     truthful testimony today?

       19        A.    No.

       20              MR. TELLIS:    For the court reporter's

       21        benefit, we circulated a number of premarked

       22        exhibits yesterday.      I don't know that I'm going

       23        to use all of them, and so if I skip a number,

       24        I'm doing that intentionally.         Just mark it blank

       25        for whatever number I skip for whatever number I

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        1        skip.    Okay?

        2              THE COURT REPORTER:      (Indicating.)

        3     BY MR. TELLIS:

        4        Q.    Mr. Brennan, who is your current employer?

        5        A.    I am -- I work for ARS Account Resolution

        6     Services.

        7        Q.    Is that a -- is that a legal entity or is

        8     that a d/b/a that's being used by a different

        9     company?

       10        A.    We're a d/b/a of Healthcare Revenue Recovery

       11     Group.

       12        Q.    And is it okay if I refer to Healthcare

       13     Revenue Recovery Group in this deposition as HRRG?

       14        A.    Yes.

       15        Q.    You'll understand what I mean?

       16        A.    Absolutely.

       17        Q.    And if I refer to ARS Account Resolution

       18     Services as ARS today, you'll understand what I

       19     mean?

       20        A.    Yes.

       21        Q.    Okay.    Is there a defense -- why does HRRG

       22     use a d/b/a?

       23        A.    The d/b/a was set up for ARS Account

       24     Resolution Services to handle later-stage

       25     collections.     We're basically a secondary collection

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        1     agency.

        2        Q.     Which means that you perform collection

        3     services for creditors?

        4        A.     We do.

        5        Q.     And what does later-stage mean?       These are

        6     accounts that are delinquent or --

        7        A.     Yes, they're delinquent and they've already

        8     been through a first round of collections with a

        9     prior agency.

       10        Q.     Is HRRG -- does HRRG own this debt that it's

       11     seeking to collect, or is it hired by a creditor to

       12     collect the debt for it?

       13        A.     They are hired by a creditor.

       14        Q.     Okay.    And how are they typically paid to

       15     collect the debt?      Is it a percentage structure or

       16     is it a flat fee or some other --

       17        A.     I am not privy to that.      I believe it is a

       18     percentage structure.

       19        Q.     What is your current title at HRRG/ARS?

       20        A.     Assistant Vice President.

       21        Q.     How many Assistant Vice Presidents are there

       22     in the company?

       23        A.     Three.

       24        Q.     Who are the others?

       25        A.     The others are Kevin Metsgar and Carl

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        1     Hillard.

        2        Q.    And who is your direct report?

        3        A.    David Friedlander.

        4        Q.    What's his title?

        5        A.    President.

        6        Q.    Is there only one president of the company?

        7        A.    Yes.

        8        Q.    Okay.   And just briefly, what are your

        9     duties and responsibilities as Assistant Vice

       10     President?

       11        A.    That could be a long list.       I oversee the

       12     collection and clerical departments at ARS.          I help

       13     to implement policy, enforce policy.        I'm involved

       14     in the IT side of things to an extent in that I make

       15     sure things are set up the way they need to be.          I

       16     do reporting, projecting of revenue.        I manage the

       17     floor, the collection staff.

       18        Q.    Okay.   Sir, you understand that you are

       19     being deposed today as an individual but also as a

       20     designated corporate representative for HRRG d/b/a

       21     ARS?

       22        A.    Yes.

       23        Q.    All right.    And let me, for the record,

       24     introduce as Exhibit 1 the notice of deposition of

       25     Patrick Brennan under Rule 30 of the Federal Rules

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        1     of Civil Procedure.

        2               (Brennan Exhibit 1 was marked for

        3     identification.)

        4     BY MR. TELLIS:

        5        Q.     Have you seen this document before?

        6        A.     I have, yes.

        7        Q.     Okay.   You understand that this is the

        8     document that seeks your deposition here today as an

        9     individual?

       10        A.     Yes, I do.

       11               (Brennan Exhibit 2 was marked for

       12     identification.)

       13     BY MR. TELLIS:

       14        Q.     Okay.   And I will mark as Exhibit 2 a notice

       15     of deposition of defendant Healthcare Revenue

       16     Recovery Group, LLC, d/b/a ARS Account Resolution

       17     Services, under Rule 30(b)(6) of the Federal Rules

       18     of Civil Procedure.      Have you seen this document

       19     before?

       20        A.     Yes.

       21        Q.     And you understand, sir, that this document

       22     has several areas of testimony that are contained in

       23     the Attachment A beginning on page 3?

       24        A.     Yes.

       25        Q.     And have you reviewed those areas of

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        1     testimony?

        2        A.     Yes, I have.

        3        Q.     Okay.   And are you here on behalf of the

        4     company to testify as to those areas of testimony?

        5        A.     Yes, I am.

        6        Q.     Okay.   Do you have some familiarity with the

        7     allegations the plaintiffs have made in this case

        8     that you are being deposed in today?

        9        A.     Yes, I do.

       10        Q.     Have you reviewed the complaint?

       11        A.     Yes, I have.

       12        Q.     Okay.   And you're familiar with the written

       13     discovery responses that you verified on behalf of

       14     HRRG in this case?

       15        A.     Yes.

       16        Q.     And you reviewed those before today?

       17        A.     Yes, I have.

       18        Q.     And are you prepared, sir, to testify with

       19     respect to the topics that are identified in

       20     Exhibit 2?

       21        A.     Yes, I am.

       22        Q.     Okay.   And can you tell me what you've done

       23     to prepare for today's deposition?        Let's start

       24     with --

       25               MR. KOHLMYER:    Hang on a second.     Subject to

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        1        any preparation in regards to communications or

        2        discussions with counsel, which are protected

        3        by -- hang on a second.       Do you want to change

        4        your question or you want me to finish my

        5        objection?

        6              MR. TELLIS:    Finish your objection and we'll

        7        break it down.

        8              MR. KOHLMYER:     Okay.   Subject to any

        9        communications or directions or consultations

       10        with counsel in this case, I instruct you not to

       11        answer; however, in preparation for the

       12        deposition, if you've taken any steps in

       13        reviewing documents in preparation for your

       14        testimony, excluding communications or

       15        preparation with your counsel, you may answer.

       16     BY MR. TELLIS:

       17        Q.    All right.    Let's start this way,

       18     Mr. Brennan.    Who did you meet with to prepare for

       19     your deposition today?

       20              MR. KOHLMYER:     I instruct him not to answer.

       21              MR. TELLIS:    That -- on what basis?

       22              MR. KOHLMYER:     Attorney-client privilege.

       23              MR. TELLIS:    That's nonsense.      The identity

       24        of who he met doesn't --

       25              MR. KOHLMYER:     Let's move.

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        1              MR. TELLIS:    No, no, no.      Excuse me.

        2              MR. KOHLMYER:     Okay.

        3              MR. TELLIS:    Excuse me.

        4              MR. KOHLMYER:     Okay.

        5              MR. TELLIS:    You're here to make -- you're

        6        here to make objections, not to engage me in

        7        colloquy.    The identity of who he met with --

        8              MR. KOHLMYER:     You're right.

        9              MR. TELLIS:    Stop.    Stop.    I'm going to

       10        let --

       11              MR. KOHLMYER:     You're right.

       12              MR. TELLIS:    Are you going to let me finish

       13        my objection?

       14              MR. KOHLMYER:     You don't have an objection.

       15        I've instructed him not to answer the question

       16        that's posed.     You can answer another question.

       17     BY MR. TELLIS:

       18        Q.    Excuse me.    Who did you meet with,

       19     Mr. Brennan, outside of your lawyers to prepare for

       20     today's deposition?

       21              MR. KOHLMYER:     You may answer that question.

       22        A.    No one.

       23        Q.    So the only people you met with to prepare

       24     for today's deposition were lawyers?

       25        A.    Yes.

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        1              MR. KOHLMYER:     You can answer that question.

        2        A.    All right.

        3        Q.    When did you meet with your lawyers in

        4     preparation for today's deposition?

        5              MR. KOHLMYER:     I instruct you not to answer

        6        that question.

        7              MR. TELLIS:    On what grounds?

        8              MR. KOHLMYER:     Attorney-client privilege.

        9     BY MR. TELLIS:

       10        Q.    How long did you meet with your lawyers in

       11     preparation for today's deposition?

       12              MR. KOHLMYER:     I instruct you not to answer

       13        that question; attorney-client privilege, work

       14        product.

       15     BY MR. TELLIS:

       16        Q.    Who was present during your preparation for

       17     today's deposition?

       18              MR. KOHLMYER:     You may answer that question.

       19        A.    I met with Skip Kohlmyer.

       20              MR. TELLIS:    How is that question any

       21        different from which lawyers did you meet with in

       22        preparation for today's deposition?

       23              MR. KOHLMYER:     Your question was to what

       24        people you answer -- who participated in the

       25        preparation session.

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        1              MR. TELLIS:    Okay.

        2     BY MR. TELLIS:

        3        Q.    You met with Mr. Kohlmyer.       Did you meet --

        4              MR. KOHLMYER:     Let's get to the facts of the

        5        case.    Let's get to the facts of the case and

        6        start -- he's ready to go.

        7              MR. TELLIS:    Excuse me, excuse me.       No.

        8        Listen, you don't tell me how to take

        9        depositions, I don't tell you how to make

       10        objections, so I want to proceed --

       11              MR. KOHLMYER:     Well, you are, so let's move

       12        on.

       13              MR. TELLIS:    Don't --

       14              MR. KOHLMYER:     Let's move on with the

       15        questioning rather than this stuff that you

       16        knowingly show as attorney-client work product.

       17        So go ahead and ask your question, I'll make my

       18        objection.

       19              MR. TELLIS:    Mr. Kohlmyer.

       20              MR. KOHLMYER:     What?

       21              MR. TELLIS:    Mr. Kohlmyer, do you need me to

       22        get the magistrate involved?

       23              MR. KOHLMYER:     We may.   We may, but go

       24        ahead.

       25              MR. TELLIS:    Okay.    You are making -- you

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        1        are instructing this witness to answer questions

        2        that are so obviously not privileged.         It's

        3        remarkable.

        4               MR. KOHLMYER:    That's your position.

        5               MR. TELLIS:    But I have to make a record.

        6               MR. KOHLMYER:    That's your legal view.

        7               MR. TELLIS:    I have to make a record, so --

        8               MR. KOHLMYER:    Okay.   Fantastic, and I am

        9        too.    Go ahead.

       10     BY MR. TELLIS:

       11        Q.     All right.    How long did you meet with

       12     Mr. Kohlmyer?

       13               MR. KOHLMYER:    I'm instructing you not to

       14        answer that question; asked and answered.

       15        Q.     Did you -- did you review any documents when

       16     you met with Mr. Kohlmyer in preparation for your

       17     deposition?

       18               MR. KOHLMYER:    Subject to attorney-client

       19        privilege, any documentation as far as what you

       20        reviewed you may testify to, but not in the

       21        context of our communications.

       22        Q.     For the moment, it's a yes-or-no question.

       23               Did you review any documents when you met

       24     with Mr. Kohlmyer in preparation for your deposition

       25     today?

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                                     117
        1              MR. KOHLMYER:     Instruct you not to answer.

        2        Q.    Did any of those documents that you may have

        3     reviewed refresh your recollection of the events

        4     leading up to this lawsuit?

        5              MR. KOHLMYER:     You can answer that one.

        6        A.    Yes.

        7        Q.    Pardon me.    Yes?

        8        A.    Yes.

        9        Q.    Which documents did you review to refresh

       10     your recollection?

       11              MR. KOHLMYER:     You may answer.

       12        A.    Okay.   I reviewed the complaint, I've

       13     reviewed the -- our answer.       I reviewed the

       14     interrogatory requests and the documents we supplied

       15     in response to that.

       16        Q.    Okay.   Mr. Brennan, let me ask you a few

       17     questions to understand the business that HRRG is

       18     in.   You mentioned that you understand HRRG to be

       19     retained by creditors to collect debt on their

       20     behalf; is that right?

       21        A.    Yes.

       22        Q.    How does HRRG or ARS obtain the debt or the

       23     debt files from these third-party creditors that it

       24     is going to collect for -- on?

       25        A.    Could you be a little more specific?         I'm

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        1     not sure I understand.

        2        Q.    Yeah.   Does a creditor send over a debt file

        3     electronically?     Does it come in a stack of other

        4     hard copy papers?     How does -- what is the

        5     physical -- what is the way that HRRG actually

        6     obtains these debt files from third-party creditors?

        7        A.    Okay.   Yes.   The files are sent to us

        8     electronically.

        9        Q.    And are they sent via some software system

       10     that has a name internally?

       11        A.    I -- it -- I'm not an IT person, so, you

       12     know, I don't want to give you a bad answer but I

       13     believe it's just sent through a secure what they

       14     call an FTP file transfer.

       15        Q.    Okay.   And are the files sent -- does HRRG

       16     and ARS have different physical offices?

       17        A.    We're within the same building but we are in

       18     different locations within that building.

       19        Q.    Okay.   And so with respect to these late

       20     stage collection accounts, as you refer to them,

       21     those are sent by third-party creditors to ARS?

       22        A.    Yes.

       23        Q.    Are they sent to a particular person?         Is

       24     there a point person that is responsible for

       25     collecting those, or does it go to its partner?

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                                     117
        1        A.    We have an IT department that handles the

        2     file transfer --

        3        Q.    Okay.

        4        A.    -- within that department.

        5        Q.    All right.    Does ARS do anything to verify

        6     the debt information that it receives from these

        7     third-party creditors in terms of their accuracy?

        8        A.    We run what is -- we call it a data

        9     integrity report, where we verify the number of

       10     accounts, the balance, we verify the different what

       11     we call client classes, because we do handle

       12     different types of accounts, and we verify that the

       13     data file that was sent matches what we received and

       14     what we --

       15        Q.    Okay.   Does ARS make any credit inquiries on

       16     the debtors in connection with the receipt of these

       17     files?

       18        A.    No.

       19        Q.    Okay.   Does ARS ever purchase credit scores

       20     or credit reports on the debtors in connection with

       21     obtaining this information from third-party

       22     creditors?

       23        A.    No.

       24        Q.    Okay.   At what point after ARS obtains a

       25     debt file from a creditor does it report that file

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        1     to a credit rating agency or a credit bureau?

        2        A.     The accounts are scheduled depending on a --

        3     you know, depending on specifics with certain

        4     clients, but they are scheduled to be reported

        5     60 days after they've been placed with us.

        6        Q.     That's the general practice?

        7        A.     Yes.

        8        Q.     And does that practice vary at all depending

        9     on who the credit -- well, let me back up.

       10               Do you report -- does ARS report a debt file

       11     to all three credit rating agencies, Equifax,

       12     Experian and TransUnion?

       13        A.     Yes, we do.

       14        Q.     Okay.   And is it the practice to report

       15     roughly 60 days after obtaining the file to all

       16     three?

       17        A.     Yes.

       18        Q.     Is there ever an instance where ARS does not

       19     report a credit file to one of the reporting

       20     agencies?    In other words, are they always reported

       21     to all three or are they sometimes not?

       22        A.     No, they're always reported to all three.

       23        Q.     Okay.   And then let's take Experian for a

       24     moment.    Once you have opened a file with Experian,

       25     what is ARS's practice with respect to how often you

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        1     update that information?

        2        A.    We generate a monthly file, so information

        3     would be updated on a monthly basis.

        4        Q.    Okay.    And is that updating done manually or

        5     through some automatic software program?

        6        A.    It's done electronically.

        7        Q.    Okay.

        8        A.    Each of the bureaus has a gateway or a

        9     secure method of sending the files electronically.

       10        Q.    And what is the name of the gateway that's

       11     used at Experian to transmit this information?

       12        A.    Again, I don't know if there is a specific

       13     name for it.     It's a -- just a secure file transfer

       14     process.

       15        Q.    Okay.    And is there someone responsible

       16     within ARS to make those updates, or is it just done

       17     literally through a computer program automatically?

       18        A.    It's done electronically but there is an

       19     individual who monitors the process and makes sure

       20     that it gets completed.

       21        Q.    And who is that individual?

       22        A.    That would be Gregory Preston.

       23        Q.    Okay.    Let me -- let's take a look at some

       24     of the responses to the written discovery that was

       25     submitted by HRRG in this case.        I just have some

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        1     clarification questions with respect to some of the

        2     answers.    Let me begin by marking as Exhibit 5 a

        3     document entitled HRRG's First Supplemental Response

        4     to Plaintiffs' First Interrogatories.

        5              (Brennan Exhibit 5 was marked for

        6     identification.)

        7     BY MR. TELLIS:

        8        Q.    Have you seen this document before?

        9        A.    Yes, I have.

       10        Q.    And just for the record, I'll scroll down to

       11     the end, and is -- there's a document entitled

       12     "Verification" that says:      "Under penalty of perjury

       13     I declare I have read the foregoing responses to

       14     interrogatories and the responses are true and

       15     correct."

       16              Is that your signature?

       17        A.    Yes, it is.

       18        Q.    Mr. Brennan, are you looking at the screen

       19     as I go through this, or do you have the document in

       20     front of you in some other manner?        I just want to

       21     make sure I'm scrolling it in sufficient time for

       22     you to read it.     Sorry?

       23        A.    I'm looking at the screen.       I believe I have

       24     a printed copy of it, if you prefer I look at that.

       25        Q.    No, that's fine.     If for whatever reason I'm

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        1     moving too fast as I'm scrolling down these, or you

        2     want to take a minute to read, just let me know and

        3     you can -- you can do that.

        4               What I'd like you to do is take a look at

        5     the response on page 3 to -- it's this right here,

        6     the First Supplemental Response to Interrogatory

        7     Number 1.    Do you see it there?      I have it on the

        8     screen.

        9        A.     I do.

       10        Q.     All right.   Take a second to read that,

       11     please.

       12        A.     Okay.   I'm going to have to -- I'm trying to

       13     minimize the image because I've got a side-by-side

       14     view, so if you can give me a --

       15        Q.     Sure.

       16        A.     Well, I don't think I can because it's your

       17     image on the screen.      I don't think I can take

       18     control of it.     Let me see here.

       19        Q.     Okay.   Well --

       20        A.     Just give me a moment.

       21        Q.     Yeah.

       22        A.     Okay.   Okay.

       23        Q.     Okay.   So it says here in a response that

       24     you verified under the first supplemental response

       25     category that:     "Periodically HRRG furnishes data to

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        1     credit reporting agencies, CRAs, that does not

        2     include any reference to when the account was 'first

        3     reported.'    It is HRRG understanding that Experian

        4     documents the 'first reported date' of an account in

        5     its own internal system which HRRG has no ability to

        6     access, modify, 'reage' or change."

        7               Do you see that?

        8        A.     I do.

        9        Q.     Okay.   On what does HRRG base its

       10     understanding that Experian documents the first

       11     reported date of an account in its own internal

       12     system?

       13        A.     Well, you know, just based on general

       14     knowledge on how credit reporting works, that most

       15     people would see, but the main reason that I would

       16     agree with that and did is that we supply the

       17     information to the credit bureaus but there is no

       18     field entitled "first reported date."

       19        Q.     Okay.   Do you know what a first reported

       20     date is?

       21        A.     Yes.

       22        Q.     What is it?

       23        A.     It would be the date that a delinquent, or

       24     any account for that matter, was first -- first

       25     appeared on an individual's credit report.

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                                     117
        1        Q.    Okay.    So it's your -- it's HRRG's position

        2     that it doesn't report that date in the data that it

        3     provides, that date is created by Experian?

        4        A.    Yes.

        5        Q.    Okay.    And then if you look further down on

        6     the same response, in response to Interrogatory

        7     Number 2, there's a statement that says:         "HRRG did

        8     not 'remove and/or alter prior account and/or

        9     payment history' when it furnished data to Experian.

       10     It is HRRG's understanding that Experian maintains a

       11     'history' on each account in its system that

       12     contains data which HRRG has no ability to access,

       13     modify or change."

       14              Do you see that?

       15        A.    Yes.    I'm just reading through it right now.

       16        Q.    Sure.

       17        A.    Okay.    Yes.

       18        Q.    What, sir, does -- is the basis for HRRG's

       19     understanding that Experian maintains a history on

       20     each account in its system?

       21        A.    Well, again, just based on general knowledge

       22     and what you see on an individual's credit report,

       23     you know, there is usually a history of the account.

       24     However, again, that's not information that's

       25     included in the data that we provide to Experian.

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        1        Q.     It's not included in that periodic updating

        2     of information that you testified about earlier?

        3        A.     Correct.   Yes, that's correct.

        4        Q.     Okay.   Does HRRG ever remove account history

        5     from an account that it reports to Experian?

        6        A.     No.

        7        Q.     Okay.   Does HRRG ever alter accounts to make

        8     them appear more newly reported?

        9        A.     No, absolutely not.

       10        Q.     Do you know what that practice is generally

       11     called, the practice of making accounts appear more

       12     newly reported?

       13        A.     Yeah.   It's a common term in the industry.

       14     It's known as reaging.

       15        Q.     All right.   Let's turn to page 4 of these

       16     interrogatories, and specifically your response to

       17     -- HRRG's, excuse me, response to Interrogatory

       18     Number 4.    Please take a minute to review that

       19     response.    Let's start with -- well, read the

       20     response and then the supplemental response as well,

       21     please.

       22        A.     I'm going to have to enlarge it a little

       23     bit.    Just give me a moment.

       24        Q.     You bet.

       25        A.     Actually, you'll need to scroll it for me, I

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                                     117
        1     believe, because I've got no --

        2        Q.    I'm sorry.

        3        A.    That's all right.     I'm at the section that

        4     starts with "The 15 data fields" and I was able to

        5     read that section and haven't been able to go

        6     further.

        7        Q.    Okay.   Let me get that to the top so you can

        8     read -- why don't you read that paragraph that

        9     starts "The 46 data fields" and let me know when

       10     you're done and I'll scroll down.

       11        A.    All right.    Okay.

       12        Q.    Okay.   And then I think the balance of this

       13     last sentence here.     Do you see that?

       14        A.    Okay.

       15        Q.    All right.    So let's scroll back up and

       16     let's start with this response.        It says:   "HRRG

       17     furnishes data utilizing the Metro2 Format available

       18     at www.collect.org."

       19              Do you see that?

       20        A.    Yes.

       21        Q.    Is Metro2 Data the name of the software

       22     program that HRRG utilizes to transmit information

       23     to Experian?

       24        A.    Well, Metro2 is actually a file layout, a

       25     format, and that is the format that's supplied

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        1     to the bureaus.

        2        Q.    Okay.   And it's the format used to supply

        3     information to all three bureaus?

        4        A.    Correct.

        5        Q.    Okay.   And the data fields in that database

        6     are the ones that are laid out in the supplemental

        7     response that follows that sentence; is that

        8     correct?

        9        A.    Yes.

       10        Q.    And these are the data fields that are

       11     utilized by HRRG to furnish data on all the consumer

       12     accounts that it is engaged in collection activities

       13     on?

       14        A.    Yes.

       15        Q.    Okay.   And do you see under the 15 -- the

       16     sentence that reads:      "The 15 data fields in the

       17     Metro2 Header Segment are..."

       18              Do you see that sentence?

       19        A.    Yes.

       20        Q.    And then there is a Number 5, Equifax

       21     Identifier, a Number 6, Experian Identifier, and a

       22     Number 7, TransUnion identifier.

       23              Do you see that?

       24        A.    Yes, I see that.

       25        Q.    So am I correct that if you are using Metro2

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        1     to report information to Equifax, HRRG would use a

        2     different identifier than if it reports information

        3     to Experian?

        4        A.    Yes.    Each of the bureaus has their own

        5     assigned identifier.

        6        Q.    Okay.    Is the information that gets put into

        7     this Metro2 data generated from an HRRG database

        8     that has a name?

        9        A.    It's generated using our collection

       10     software, which is called FACS, F-A-C-S.

       11        Q.    Is that the same as Ontario System's FACS?

       12        A.    Right.    Ontario is the developer.      FACS is

       13     one of their products.

       14        Q.    Okay.    And is the information that is

       15     contained in the Metro2 data furnished

       16     electronically to Experian, or is it some sort of a

       17     hard report?

       18        A.    No, it's sent electronically.

       19        Q.    Okay.    And the Metro2 data is also used to

       20     transmit the updated information that gets sent

       21     monthly or so to Experian?

       22        A.    Yes.

       23        Q.    Okay.    Does Experian provide HRRG with sort

       24     of a manual or some sort of a guidelines as to how

       25     to transmit data to Experian?

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        1        A.    I don't know that there is an actual manual.

        2     That would be something that IT might be aware of,

        3     you know.    There is an agreed upon format, which is

        4     the Metro2 format, and then there is an agreed upon

        5     method of transfer, and that's, again, handled

        6     electronically.

        7        Q.    Does Experian provide some sort of training

        8     to data furnishers on how to use and transmit data?

        9        A.    You know, I honestly -- I'm not sure, to be

       10     honest with you.

       11        Q.    Okay.   Okay.    Okay.   We can put this one

       12     aside and let's bring up Exhibit 6.

       13              (Brennan Exhibit 6 was marked for

       14     identification.)

       15     BY MR. TELLIS:

       16        Q.    I've placed on the screen what I've marked

       17     as Exhibit 6, which is HRRG's Second Supplemental

       18     Response to Plaintiffs' First Interrogatories.

       19              Have you seen that document before?

       20        A.    I'm not seeing it now.      I'm only seeing the

       21     prior document.

       22        Q.    Okay.   Just a second.

       23              MR. TELLIS:     Jonas, do you know how to share

       24        this document?     It's not in the -- it's in the --

       25              MR. MANN:    Sure.   Which one do you want,

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        1        which exhibit?

        2              MR. TELLIS:    Exhibit -- Exhibit 6?

        3              MR. MANN:    Which number?

        4              MR. TELLIS:    6.

        5              MR. MANN:    Sure, I'll share it.

        6              MR. TELLIS:    Oh.   Yeah, I'll scroll through

        7        it.   I just need Exhibit 6 itself.        Sorry.

        8              MR. MANN:    You have to stop sharing before I

        9        can share.

       10              MR. TELLIS:    Okay.

       11              MR. MANN:    All right.

       12     BY MR. TELLIS:

       13        Q.    Okay.   Do you see it now, Mr. Brennan?

       14        A.    Yes.

       15        Q.    Okay.

       16              MR. TELLIS:    Jonas, I got it.

       17              MR. MANN:    Oh.

       18              MR. TELLIS:    Oh, I guess I --

       19              MR. MANN:    Where do you want me to go?

       20        Sorry.

       21              MR. TELLIS:    All right.     Go to page 3 under

       22        Second Supplemental Response.

       23     BY MR. TELLIS:

       24        Q.    Mr. Brennan, please look at the response

       25     there to the paragraph that's entitled "2nd

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        1     Supplemental Response."

        2        A.    Okay.

        3        Q.    Drawing your attention to the phrase that

        4     says:   "HRRG cannot determine the number of

        5     consumers nationwide it reported accounts on to

        6     Experian between July 24, 2017 and the present, as

        7     HRRG reports to all credit bureaus and cannot

        8     distinguish accounts reported to Experian only."

        9              Do you see that?

       10        A.    Yes.

       11        Q.    But in Exhibit 5 I showed you a response

       12     which identified some of the data fields in Metro2

       13     and one of them was an identifier that was unique to

       14     Experian, Equifax and TransUnion.        Do you recall

       15     that?

       16        A.    Yes, I do.

       17        Q.    So given that each of the credit bureaus has

       18     a unique identifier, why is HRRG unable to identify

       19     the consumers that were reported to Experian?

       20        A.    The file layout that we use is gen -- not

       21     generic.   It's standard for all three bureaus.         The

       22     file is identical to all three bureaus with the

       23     exception of, you know, each bureau having its own

       24     identifier, and the question also asks between a

       25     certain period of time and it's an ever changing

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        1     number.

        2        Q.     But is it an ever changing number concern or

        3     is it an inability to distinguish Experian from

        4     Equifax or TransUnion?      Because I'm just trying to

        5     understand what the point of the identifier is for

        6     each of the bureaus if it's not able to be used to

        7     distinguish between them?

        8        A.     Well, that would be, I guess, an IT issue

        9     and I believe it's so the bureaus can determine the

       10     file is theirs, but again, the number of accounts is

       11     going to be the same for all three every time we

       12     send a file.      It doesn't change.

       13        Q.     Okay.    Understood.   And HRRG's practice of

       14     reporting to all three bureaus doesn't change?

       15        A.     That's correct.

       16        Q.     Okay.    Is there someone at HRRG who is in

       17     charge of IT?

       18        A.     Yes.

       19        Q.     What's that person's name?

       20        A.     That would be Gregory Preston.

       21        Q.     Okay.

       22               MR. TELLIS:    Okay.   Jonas, can you please

       23        scroll down to page 4 at the bottom, the response

       24        to Interrogatory Number 5.       Okay?

       25        Q.     Mr. Brennan, read as much of that as you'd

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        1     like but I'd like to focus on the language that

        2     starts midway down the first supplemental response

        3     that says:    "Subject to and without waiving

        4     objection, HRRG did not receive the dispute

        5     letters..."

        6               That section through the end of that

        7     paragraph is what I'm focused on.

        8        A.     Okay.

        9        Q.     So the starting point says:      "HRRG did not

       10     receive the dispute letters referenced in Paragraphs

       11     39 and 45 of Plaintiff's complaint."

       12               Am I correct that HRRG -- well, let me back

       13     up.   Does HRRG ever receive hard copies of any

       14     dispute letters that are submitted the credit

       15     reporting agencies by consumers?

       16        A.     Not that I'm aware of, no.

       17        Q.     What is your understanding of how HRRG

       18     becomes aware of a dispute that a consumer raises

       19     with a credit reporting agency?

       20        A.     Well, there are several ways that can

       21     happen.    It could be as simple as a consumer

       22     disputing an account during a telephone

       23     conversation, they may mail us a dispute letter

       24     directly, but the majority of the disputes that we

       25     receive are processed or received through a portal

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        1     called e-OSCAR.

        2        Q.    And the information is transmitted by

        3     Experian?

        4        A.    My understanding of e-OSCAR is that it is a

        5     middleman, for lack of a better phrase, for each of

        6     the bureaus, so if an individual disputes Experian

        7     directly, it is process -- or it is funneled to us

        8     through e-OSCAR, yes.

        9        Q.    It says in this next sentence:        "Upon

       10     receipt of an ACDV from Experian by the e-OSCAR

       11     system, HRRG determined if the dispute was specific

       12     or not specific."

       13              Do you see that?

       14        A.    Yes.

       15        Q.    Okay.    What does specific mean in this

       16     context?

       17        A.    A specific dispute -- a specific dispute

       18     would be, for example, if they said the balance was

       19     incorrect or gave a specific balance that did not

       20     match what was being reported.

       21        Q.    Is there some document within HRRG or ARS

       22     that provides guidances to its employees as to how

       23     to determine if a dispute is specific or not?

       24        A.    Yes.    There are some training materials that

       25     they are provided through e-OSCAR that are used.

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                                     117
        1        Q.    And those are training materials provided by

        2     whom -- or prepared by whom?

        3        A.    e-OSCAR.

        4        Q.    And do you believe -- you believe those

        5     training materials have information on there germane

        6     to this issue of determining whether a dispute is

        7     specific or not?

        8              MR. KOHLMYER:     Object to form.     You can

        9        answer if you know.

       10        A.    The materials outline the process for

       11     responding to any number of disputes, any types of

       12     disputes, so to my knowledge, yes.

       13        Q.    Okay.    Are ARS or HRRG employees given any

       14     training on how to determine if a dispute is

       15     specific or not, internally?

       16        A.    We train them how to handle disputes, yes.

       17        Q.    Okay.    But it's -- just so I understand for

       18     purposes of today, a dispute is deemed specific if

       19     it contains certain information in it, like whether

       20     a balance is correct or not; is that right?

       21        A.    Right.    I mean yes, I guess it depends on

       22     the definition of specific, but yes, they are

       23     trained on how to handle any number of disputes, and

       24     depending on the type of dispute it is determines

       25     how they should review it and respond to it.

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        1        Q.    Okay.   And so what is not -- what is not

        2     specific described as?

        3        A.    I would describe that as a generic term,

        4     inaccurate information.      I mean, there are any

        5     number of dispute codes that are used within

        6     e-OSCAR, I don't know the exact count, to be honest

        7     with you, but it could be "not mine," "inaccurate

        8     information."    Those are the general generic I would

        9     say nonspecific types of disputes they could respond

       10     to.

       11        Q.    Okay.   So it says in this sentence that:

       12     "If dispute was not specific (Santos and Clements),

       13     HRRG verified the identity of the account holder and

       14     the account information."

       15              Do you see that?

       16        A.    Yes.

       17        Q.    So am I to read this -- so from -- that the

       18     HRRG disputes that were raised by Santos and

       19     Clements fell into the "not specific" category; is

       20     that right?

       21        A.    I, again, would -- I believe so.        It was, as

       22     I said, something along the lines of "not mine" or

       23     "inaccurate information," then I think we would

       24     consider that a not specific dispute.

       25        Q.    Okay.   But putting the words Santos and

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                                     117
        1     Clements in parens next to not specific is intended

        2     to tell the reader that HRRG determined their

        3     disputes were not specific; is that right?

        4        A.    Yes.

        5        Q.    Okay.   Do you know who within the company

        6     made that determination?

        7        A.    I -- off the top of my head, no.        I have

        8     several individuals who process those disputes.           I

        9     would have to look at the individual dispute itself

       10     and see --

       11        Q.    Okay.   It says, though, if a dispute was not

       12     specific, HRRG verified the identify of the account

       13     holder and the account information.        What does the

       14     last part mean, verified the account information?

       15        A.    That would include the key information on

       16     the account, who the original creditor was, the

       17     balance, when the account was listed with us, the

       18     date of delinquency.

       19        Q.    When you say verifying, you're verifying it

       20     using the data that HRRG has in its systems?

       21        A.    Correct.

       22        Q.    Okay.   And then it says:      "If the dispute

       23     was specific as to account information (Clements),

       24     HRRG provided additional account information and

       25     updated the account."

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                                     117
        1              Do you see that?

        2        A.    I do.

        3        Q.    Okay.   So am I to understand that the

        4     company believed at least one of Clements's disputes

        5     was specific as to account information?

        6        A.    Yes.

        7        Q.    Okay.   And in that case, HRRG provided

        8     additional account information and updated the

        9     account.   What does "updated the account" mean?

       10        A.    Okay.   Well, it's kind of a -- I don't want

       11     to beat around the bush with the answer but to make

       12     it a simple part answer, when we receive a dispute,

       13     the information that is confirmed, verified or

       14     updated is sent back to e-OSCAR electronically.          So

       15     if, for example, we needed to update an address or a

       16     balance, that type of thing, then that information

       17     is transmitted back from our system.

       18        Q.    So updated is also synonymous with

       19     corrected.    So, for example, if a consumer says

       20     you've got the incorrect address for me and HRRG

       21     finds the correct address in the system, that would

       22     be considered an update to the account information?

       23        A.    With respect to an address?       No.   We report

       24     back what we have.

       25        Q.    Okay.   So this verification process is

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                                     117
        1     literally just looking at the data that HRRG has and

        2     reporting it back to the credit reporting agency?

        3        A.    Yes, basically.

        4        Q.    Okay.   Is this the protocol that's described

        5     here in the first supplemental response, is this the

        6     protocol that HRRG and ARS uses for all consumers

        7     who dispute?

        8        A.    Yes.

        9              (Brennan Exhibit 7 was marked for

       10     identification.)

       11              MR. TELLIS:    Okay.    Jonas, can you please

       12        pull up Exhibit 7, which is HRRG's Response to

       13        Plaintiff's First Request for Production.

       14              MR. MANN:    Sure.

       15              MR. TELLIS:    And I'd like to take him to the

       16        example of what is produced at HRRG Res

       17        PLRPD#1-Santos.Clements 0029, which should be the

       18        first page attached to the --

       19              MR. MANN:    Right here.

       20              MR. TELLIS:    No.   Right there.     Okay.

       21     BY MR. TELLIS:

       22        Q.    Mr. Brennan, would you please take a look at

       23     this page for a minute and tell me whether it

       24     contains data -- Metro2 data for, in this case, one

       25     of the plaintiffs in this case?

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                                     117
        1        A.    Yes, it does.

        2        Q.    So is this -- is this a hard copy print of

        3     that Metro2 data, or a screenshot, or something

        4     else?

        5        A.    That's basically a printout of the Metro2

        6     format, yes.

        7        Q.    Okay.

        8        A.    Or a parsed out file, yes.

        9        Q.    All right.    And does HRRG input the

       10     numerical values that are on this page?

       11        A.    The format is a standardized format.         There

       12     is an interface with our software that populates

       13     these fields.     You have to create the file, so to

       14     speak, but that information is pulled directly from

       15     our system, yes.

       16        Q.    Okay.    Does HRRG ever delete any of the data

       17     that's in Metro2 for a consumer?

       18        A.    No.    We're -- it's not possible.

       19        Q.    Okay.    Once it's inputted and submitted, it

       20     can't be deleted?

       21        A.    We -- no, it cannot.

       22        Q.    Okay.    And that's true for all consumers

       23     that are reported through Metro2?

       24        A.    Yes.

       25        Q.    Okay.    All right.   Take a look, please --

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                                     117
        1              MR. TELLIS:    Jonas, can you scroll down to

        2        page 41 of the attachment?       Okay.   Scroll down

        3        for a little bit.      Can you stop there for a

        4        minute?

        5     BY MR. TELLIS:

        6        Q.    I'm showing you a document that was produced

        7     by HRRG that appears to be some sort of a computer

        8     screen with a title "Credit Bureau Disputes - W 325."

        9     Do you see that?

       10        A.    Yes.

       11        Q.    Do you know what this -- do you know where

       12     this page came from, what database?

       13        A.    That's actually part of a -- of one of our

       14     clerical manuals for handling different duties.

       15     It's part of a clerical training manual.

       16        Q.    Okay.   So this is a -- pages of a manual

       17     that HRRG creates for its employees who are dealing

       18     with credit bureau disputes; is that right?

       19        A.    Correct.

       20        Q.    And are these -- are these screen -- this is

       21     a screenshot of a computer system that is used by an

       22     employee who is dealing with a dispute; is that

       23     correct?

       24        A.    Yes.

       25        Q.    Okay.

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                                     117
        1              MR. TELLIS:      Scroll up for a minute, Jonas.

        2        Q.    Mr. Brennan, something was redacted on this

        3     page of this manual.       Do you know -- do you know

        4     what the nature of the information that was redacted

        5     without telling me its content?        I mean, was this

        6     redacted because it pertained to a different

        7     consumer, or do you know what was redacted?

        8        A.    Without looking at the original, no, I don't

        9     know what was redacted.       It wouldn't be related to a

       10     consumer.    It might be related to a different area

       11     of training.     I'm not sure.

       12        Q.    Okay.    Okay.

       13              MR. TELLIS:      Scroll down, Jonas, to the

       14        second page of this manual.       All right.     Right

       15        there.

       16     BY MR. TELLIS:

       17        Q.    This screen at the top is a box that says

       18     "Credit Reporting" and underneath it it says "Credit

       19     Reporting Status."     Do you see that?

       20        A.    Yes.

       21        Q.    Can you -- do you know what software or

       22     database contains this screen?

       23        A.    Yeah, our collection software, FACS.

       24        Q.    FACS.    Okay.    And this is just an example of

       25     the type of information that gets inputted with

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        1     respect to a consumer; is that correct?

        2        A.     Yes, correct.

        3        Q.     And underneath, if you look at the first

        4     line, Account 70703230, do you see that?

        5        A.     Yes.

        6        Q.     The first column says -- does that say

        7     "seed"?

        8        A.     Yes, it does.

        9        Q.     And there is a check box.      What does -- what

       10     does seed stand for?

       11        A.     To give you a short explanation, oftentimes

       12     we'll receive multiple accounts for the same

       13     consumer, and the software identifies one, for lack

       14     of a better word, main account and the others are

       15     attached to it.

       16        Q.     I see.

       17        A.     So seed account would be the main account.

       18     The accounts attached to it or called ties.

       19        Q.     Okay.    The next column is "Delinquent."

       20     What is that referring to?

       21        A.     That would be the date of delinquency.

       22        Q.     Is that the date of first delinquency?

       23        A.     Yes.    We -- we're conservative and we refer

       24     to the service date as the date of delinquency.

       25        Q.     Does that date ever change once it's

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                                     117
        1     inputted?

        2        A.    Never.

        3        Q.    Okay.    The next column says "Reported" -- or

        4     not the next column, two columns over say

        5     "reported."    What is that referring to?

        6        A.    That would be the last reported date for

        7     that particular -- the last date it was reported to

        8     the bureaus.

        9        Q.    The last date it was reported to the bureau.

       10     Okay.

       11        A.    Correct.

       12        Q.    And so why are there three columns with the

       13     reported dates in it?

       14        A.    For each of the three bureaus.

       15        Q.    Oh, I see.    And that -- and so the EQU to

       16     the left is Equifax, the XPR is Experian, and the TU

       17     is TransUnion; is that right?

       18        A.    Correct.

       19        Q.    Okay.    And do the dates of reported ever

       20     change as between the three credit bureaus?

       21        A.    I'm not sure I understand your question.

       22        Q.    Would there ever be occasion where the

       23     reported date for Equifax would be different than

       24     the reported date for Experian?

       25        A.    The only possible way that I could see that

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        1     happening is if the file was processed and went

        2     from, you know, past midnight, for example.          So I

        3     suppose it's possible it could be one day off, but

        4     I've actually never seen it.

        5        Q.    Okay.   As a general matter, those should be

        6     the same; is that right?

        7        A.    Correct.

        8        Q.    Okay.   And then there is a last column,

        9     "Dispute."    What is that column referring to?

       10        A.    That refers to if the account has been

       11     disputed.

       12        Q.    Okay.   And if it has, you put the letter D

       13     in it?

       14        A.    Yes.

       15        Q.    And if it hasn't been disputed, is it blank

       16     or is there a different letter in there?

       17        A.    It's actually blank.

       18        Q.    Okay.   Okay.    Why don't we take a quick

       19     break.   We've been going about an hour, and we will

       20     start back in five or 10 minutes, whenever -- how

       21     much time do you need, Mr. Brennan?        Is five minutes

       22     okay?

       23        A.    Five minutes will be perfect.

       24              MR. TELLIS:     All right.    Let's take a

       25        five-minute break.

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        1               THE VIDEOGRAPHER:    The time is 11:29.      We

        2        are off the record.

        3             (Recess from 11:29 a.m. until 11:38 a.m.)

        4               THE VIDEOGRAPHER:    The time is 11:38.      We're

        5        back on the record.

        6     BY MR. TELLIS:

        7        Q.     Mr. Brennan, I'd like to show you what I'm

        8     going to mark as Exhibit 8.

        9               (Brennan Exhibit 8 was marked for

       10     identification.)

       11     BY MR. TELLIS:

       12        Q.     It is HRRG's First Supplemental Response to

       13     Plaintiff's First Request For Production.         Have you

       14     seen this document before?

       15        A.     Yes.

       16        Q.     And just for the record, at the end -- it

       17     is -- it's a series of responses and then attached

       18     beginning -- well, the first page is Bates numbered

       19     HRRG 1st Supp Response PLRPD#1 Santos.Clements 0043.

       20               Do you recognize this information?

       21        A.     Yes.

       22        Q.     The response that accompanied this document

       23     refers to this as a Consumer Fact Sheet.         Do you

       24     see:    Attached are two Consumer Fact Sheets

       25     regarding the accounts of Plaintiff Clements and two

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                                     117
        1     Consumer Fact Sheets regarding accounts of Plaintiff

        2     Santos.

        3               Do you see that?

        4        A.     Yes.

        5        Q.     Mr. Brennan, do you know where this

        6     information comes from that is used to generate a

        7     Consumer Fact Sheet?

        8        A.     Yes.    It comes from our system, our

        9     software.

       10        Q.     What software is that called?

       11        A.     FACS.

       12        Q.     Okay.    Does HRRG maintain a data dictionary

       13     or some other document that helps decipher some of

       14     the alphanumeric codes that are in this document?

       15        A.     Depending on what you're referring to is --

       16     with data dictionary.      That's a much larger item.

       17     That's database level.

       18               As far as the codes or numeric information

       19     that's on there, those are fields within the

       20     software, so we do have familiarity with those.

       21        Q.     Okay.    Do you have familiarity with this

       22     data?

       23        A.     Yes, I do.

       24        Q.     Okay.    So let's look at this first page.

       25     Does this appear to be a Consumer Fact Sheet for

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                                     117
        1     Plaintiff Amanda Clements?

        2        A.    Yes.

        3        Q.    And in the top right-hand corner it says:

        4     Wait:   September 14, 2018.

        5              Do you know what "wait" means?

        6        A.    Yes.    That's just the date an account would

        7     be followed up on.     It could be actually the date

        8     that that was generated on -- depending on, you

        9     know, different actions that are taken on the

       10     accounts, but it's basically what we call a wait

       11     date.   It's a date that an account should be

       12     followed up on.

       13        Q.    Okay.    This information we're looking at is

       14     maintained electronically but it appears that the

       15     system allows you to run a query and print a record;

       16     is that right?

       17        A.    Yes.

       18        Q.    Okay.    And so there is, in the top left-hand

       19     corner, there is an account and the last four is

       20     2706.   Do you see that?

       21        A.    Yes.

       22        Q.    And so would that -- that would be the

       23     account number for Ms. Clements?

       24        A.    Yes.

       25        Q.    Okay.    All right.   And then down below there

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        1     is an Item 1 that has some information, and then an

        2     Item 2 that has some information, right?

        3        A.    Yes.

        4        Q.    And Item 1 has a PRN of 2706, and Item 2 has

        5     a PRN of 8939; is that right?

        6        A.    Yes.

        7        Q.    So that means Ms. Clements, in this

        8     particular instance, has two accounts that are

        9     contained in the FACS database?

       10        A.    Yes.

       11        Q.    Is this what you were referring to as a seed

       12     account?   Would the seed account number be 2706?

       13        A.    Generally.    In this case, yes.      If you will

       14     notice, there is an asterisk next to either of those

       15     numbers.

       16        Q.    Yes.

       17        A.    Okay.   That denotes seed, but in this case,

       18     both of those accounts are -- they're not combined,

       19     so they're each individually a seed.

       20        Q.    Okay.   But at the top left-hand corner it

       21     just refers to Account 2706.       Is that because this

       22     particular record pertains to that account and there

       23     would be another one for Account 8939?

       24        A.    There should be, yes.

       25        Q.    Okay.   All right.    Do you see under the

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        1     address for Ms. Clements there are two lines, one of

        2     them has the word "list" and a colon and then some

        3     dates.   Do you see that?

        4        A.    Yes.

        5        Q.    Can you review this document and tell me

        6     what the list date is of February 24th, 2014?

        7        A.    That's the date that that account was placed

        8     with us for collection.

        9        Q.    That's the date the account came from a

       10     third-party creditor to ACS?

       11        A.    That's the account -- the date the account

       12     came to ARS.

       13        Q.    Right.    I'm sorry.    ARS from a third-party

       14     creditor?

       15        A.    Correct.

       16        Q.    Okay.    And then what's the SRV date that's

       17     next to that?

       18        A.    That's the date of service, the date the

       19     services were rendered.

       20        Q.    Services by whom?

       21        A.    The original creditor.

       22        Q.    I see.    So if we assume, for example, this

       23     is a medical debt at a physician's office, that

       24     would be the date that Ms. Clements went and had

       25     some service performed?

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                                     117
        1        A.    Yes.

        2        Q.    Okay.   All right.    Then go down, please, to

        3     line 1 under the heading "Multiple Accounts."          Under

        4     the heading "PRN" you see 2706.        Are you with me on

        5     that line?

        6        A.    Yes.

        7        Q.    And if you move over, there is a date that

        8     appears in that line of 2/14 -- sorry, 2/24/14.

        9        A.    Yes.

       10        Q.    Do you see that?     That's the same as the

       11     list date that's above.      Is that what -- is that

       12     correct?

       13        A.    Yes.

       14        Q.    Okay.   And then we have a date next to that

       15     of 12/20/12, which is the same as the service date

       16     above; is that correct?

       17        A.    Yes.

       18        Q.    Now, can you tell from this document when

       19     HRRG first reported this -- these accounts to a

       20     credit bureau?

       21        A.    It would not appear in this document.         No, I

       22     don't believe you can.

       23        Q.    Okay.   See below, under the "Notes" section

       24     there is a series of dates in a column?

       25        A.    Yes.

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                                     117
        1        Q.    Do those dates bear any relation to the date

        2     this account was first submitted to the credit

        3     reporting agencies?

        4        A.    Not the dates that you're showing, no.

        5        Q.    Okay.    Well, let's scroll down to the first

        6     time there isn't a redaction.

        7              Do you know what this entry is at the bottom

        8     of page 45 that says "7:30 en DI" and then there is

        9     a series of letters?

       10        A.    Yes.    That would indicate that we received

       11     the dispute on that date.

       12        Q.    What is it about that entry that tells you

       13     you received a dispute?

       14        A.    It's my knowledge of the system.        That

       15     window where it says DU885.

       16        Q.    Yes.

       17        A.    That's what we call a user-defined window

       18     and when it's updated, it means we received a

       19     dispute.

       20        Q.    Okay.    What is the purpose of this Consumer

       21     Fact Sheet internally?      How do you use it?

       22        A.    We don't have a whole lot of internal use

       23     for it, to be honest with you.       It's mainly used to

       24     show what activity has taken place on an account.

       25     We may use it for coaching with an employee or

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        1     something along those lines.

        2        Q.    Okay.   And so if we go to the next page, we

        3     see a number of events or entries in this account.

        4     Are you telling me that none of those would pertain

        5     to the date that the account was reported to

        6     Experian, say?

        7        A.    Not those notes, no.

        8        Q.    Okay.   Are these all entries that have

        9     occurred on the account after it was first

       10     established and reported to Experian?

       11        A.    By looking at the notes, yes, I can tell you

       12     that that's the case.

       13        Q.    Okay.   Look at this one where -- I don't

       14     know, can you see my marker?       But there's a -- I

       15     guess not.    There is an entry -- I'll do it this

       16     way.

       17              There is an entry towards the top of the

       18     page as I have -- there's an entry about five lines

       19     from the top of the page that says "Marked account

       20     for credit bureau removal" on July 14th, 2018, at

       21     11:49.

       22              Do you see that entry?

       23        A.    Yes, I do.

       24        Q.    What does that mean, marked account for

       25     credit bureau removal?

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        1        A.    That means the account was flagged to be

        2     deleted from the credit report.

        3        Q.    And is that at a request by a consumer or

        4     something else triggers an entry like that?

        5        A.    Well, there could be a number of things that

        6     could trigger that.       This was not due to a consumer

        7     request, I can tell from the notes.

        8        Q.    What is it about the notes that tells you

        9     that?

       10        A.    Our client requested us to close this

       11     account and --

       12        Q.    I see?

       13        A.    And whenever a client requests closure of an

       14     account, we do a deletion.

       15        Q.    Okay.    So is that the request to cancel

       16     entry that's a few lines above that?

       17        A.    Correct.

       18        Q.    Okay.    Okay.    Bear with me one second.

       19              If a consumer disputed information -- in

       20     this case, if Ms. Clements disputed information on

       21     her account, how would it be reflected in this

       22     document?    Am I looking for a particular code or

       23     something else that would identify the fact that she

       24     disputed her information?

       25        A.    Generally, if it was a dispute that was

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        1     responded to by our staff, they would put a note on

        2     the account that they received a dispute and

        3     responded to it, depending on the type of dispute.

        4        Q.     Okay.

        5        A.     I don't -- I'm sorry.     Go ahead.

        6        Q.     Okay.   But is that a -- you know, an entry

        7     that would say "dispute received and addressed" or

        8     would it be some numeric code, do you know?

        9        A.     I'm looking through it just to make sure.         I

       10     don't want to give you a bad answer.

       11               There is a flag that gets set when an

       12     account is marked as in dispute.        I'm not positive

       13     that it actually shows in the notes like this,

       14     though.

       15        Q.     Okay.   So look at the screen I've just put

       16     up, which is page 46, and you see towards the top of

       17     my screen now, a few lines down, on July 14th, 2018,

       18     it says "Cleared disputed flag on account."

       19               Do you see that?

       20        A.     Correct.   Yes.

       21        Q.     Does that refer to actions on the part of

       22     ARS to address a dispute that was made by

       23     Ms. Clements?

       24        A.     Actually, in this case, no.      That's in

       25     preparation for the deletion request.         Part of the

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        1     procedure is that we clear the dispute when we

        2     submit the deletion request.

        3        Q.    I see.

        4        A.    I believe we show there is a cleared dispute

        5     before we delete it.

        6        Q.    So once it says "marked account for credit

        7     bureau removal," why are there entries that continue

        8     after that?

        9        A.    Those are -- I'm not 100 percent positive.

       10     I'd have to take a closer look at it and look at

       11     what was going on with it.       That's not activity that

       12     took place by a user, though, I can tell you that.

       13        Q.    It's activity by -- that took place by whom?

       14        A.    It's the system.

       15        Q.    I see.

       16        A.    Right.

       17        Q.    How can you tell that?

       18        A.    If you see the initials NJE to the left.

       19        Q.    Yes.

       20        A.    That signifies it's a system function.

       21        Q.    What does NJE stand for?

       22        A.    It's something that was set up by the

       23     software vendor.     I honestly don't know what exactly

       24     it does stand for.

       25        Q.    Okay.    And then above that we see GAP.       What

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        1     does that denote?

        2        A.     That is an actual user, so that would be

        3     Gregory Preston.

        4        Q.     Okay.    Okay.   Do you see at the top of my

        5     page now it says "Created skip trace request for

        6     demo" on July 14th, 2018?

        7        A.     Yes.

        8        Q.     What is that referring to?

        9        A.     Well, one of the processes that we run on

       10     accounts is to monitor for bankruptcy, to find out

       11     if a consumer has filed for bankruptcy.         That's also

       12     done electronically.       So whenever we close or delete

       13     an account, we also delete it from that monitoring.

       14     So that's what that means, meaning we're not going

       15     to look for bankruptcy on this account anymore.

       16     It's closed.      It's deleted.    There is no reason to.

       17        Q.     Okay.    Now, let's go to page 76 for a

       18     minute.    Scroll down here.      All right.   I'm on page

       19     76.   Does this appear to be a Consumer Fact Sheet

       20     printout for Plaintiff Omar Santos?

       21        A.     Yes.

       22        Q.     Okay.    And on this particular case I see on

       23     page 82, right in the middle of the page, below the

       24     redaction, at November 20th, 2017, it says:          "Set

       25     disputed flag on the account."

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        1               Do you see that?

        2        A.     Yes.

        3        Q.     Does that refer to an entry pertaining to a

        4     dispute that was made by Mr. Santos?

        5        A.     Yes.    It was a -- well, it was a dispute

        6     that we received through e-OSCAR, but yes, I would

        7     assume.

        8        Q.     Okay.    So that -- okay.    So that's the type

        9     of entry we would see if a consumer disputed

       10     information on an account and it was transmitted to

       11     ARS via e-OSCAR?

       12        A.     That's one -- one way you would see it, yes.

       13        Q.     Okay.    All right.

       14               MR. TELLIS:    Let's stop sharing this one and

       15        let's bring up Exhibit 9.

       16               (Brennan Exhibit 9 was marked for

       17     identification.)

       18     BY MR. TELLIS:

       19        Q.     Mr. Brennan, I've marked as Exhibit 9

       20     Defendant Healthcare Revenue Recovery Group, LLC's

       21     Second Supplement Response to Plaintiff's First

       22     Request for Production.

       23               Have you seen this document before?

       24        A.     Yes.

       25        Q.     Okay.    And I just want to draw your

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        1     attention to -- do you see the supplemental response

        2     to Interrogatory Number 2 in the middle of the page?

        3     It says:    "To date, HRRG has not located any CDV or

        4     ACDV records through e-OSCAR related to the accounts

        5     of either Plaintiff; the records could be available

        6     from Defendant Experian."

        7               Do you see that?

        8        A.     I do.

        9        Q.     What's the -- if you assume that the

       10     plaintiffs disputed their accounts, what explains

       11     why HRRG doesn't have a record of any CDV or ACDV

       12     records through e-OSCAR related to them?

       13        A.     The ACDVs are maintained by e-OSCAR on their

       14     database and they are only available for a period of

       15     time.    I -- 18 -- 18 months, I believe.

       16        Q.     They are only available for a period of time

       17     where?

       18        A.     On the e-OSCAR database.

       19        Q.     Oh, okay.   So when HRRG receives an ACDV

       20     through e-OSCAR and it completes a response, does it

       21     keep a copy?

       22        A.     No.   No, it's all handled electronically.

       23        Q.     Okay.   So the only way to obtain information

       24     that HRRG put into an ACDV response would be through

       25     e-OSCAR, to your knowledge?

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        1        A.    Yes.

        2        Q.    You say at the end of this:       "The records

        3     could be available from Defendant Experian."

        4              How do you know that?

        5        A.    Well, we only maintain them through e-OSCAR.

        6     I believe each of the bureaus maintains records for

        7     a longer period of time.

        8        Q.    Okay.    What do you base that belief on?

        9        A.    Just past experience.

       10        Q.    Okay.    And then attached to this particular

       11     document is a letter that was sent by ARS to

       12     Ms. Clements dated July 18th, 2017, Bates numbered

       13     106.

       14              Do you see right here at the bottom, this is

       15     the Bates Number 106?      Do you recognize this letter?

       16        A.    I do.

       17        Q.    Is this typically the format of a letter

       18     that ARS sends to a debtor to advise them that ARS

       19     is attempting to collect the debt?

       20        A.    Yes.

       21        Q.    Okay.    And down at the bottom, sir, here on

       22     this letter, there is some information on the bottom

       23     and it says:     Creditor, ACS Primary Care Physician

       24     SW.

       25              Do you see that?

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        1        A.    Yes.

        2        Q.    And that would be ARS's client?

        3        A.    Yes.

        4        Q.    And then on the far right it says "ServDate

        5     01/31/12."

        6              That's the date that the services were

        7     performed by that client?

        8        A.    Correct.

        9        Q.    Okay.   Is there a -- let's switch gears for

       10     a minute.    Is there a contractual relationship

       11     between HRRG and Experian?

       12        A.    I believe there is a contract between the

       13     two entities, yes.

       14              (Brennan Exhibit 11 was marked for

       15     identification.)

       16     BY MR. TELLIS:

       17        Q.    Okay.   Let me mark as Exhibit 11 a document

       18     entitled "Data Release Agreement," and in the

       19     heading it says:     This Data Release Agreement is

       20     entered into by Experian Information Solutions, Inc.

       21     ("Experian"), and the data provided indicated below

       22     the signature line -- data provider.

       23              And if I scroll down to the end, it says the

       24     data provider is Healthcare Revenue Recovery Group.

       25              Do you see that?

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        1        A.    Yes.

        2        Q.    Do you recognize Exhibit 11 as the data

        3     furnishing or data services agreement between HRRG

        4     and Experian?

        5        A.    Yes.

        6        Q.    To your knowledge is this the only contract

        7     that exists between the two entities?

        8        A.    I honestly don't know.      I believe so.

        9        Q.    I don't see anything in this agreement that

       10     provides financial terms for the arrangement that's

       11     described here, which is the contribution of data by

       12     HRRG to Experian.     Do you know what the financial

       13     arrangements are between Experian and HRRG that's

       14     reflected in this Exhibit 11?

       15        A.    I don't believe there is a financial

       16     agreement.

       17        Q.    Okay.   So what does -- what does -- why

       18     does -- why does -- what's the purpose -- what is

       19     HRRG's purpose in entering into this agreement?

       20        A.    I can only give you my impression.         I didn't

       21     sign this agreement, so, you know --

       22        Q.    Okay.

       23        A.    I believe it's just to maintain uniformity

       24     in the information that we supply to them, maybe to

       25     outline certain situations that may arise through

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        1     the course of credit reporting and how those would

        2     be dealt with.

        3        Q.    Does HRRG pay Experian for any services that

        4     Experian provides?

        5        A.    Not to my knowledge, no.

        6        Q.    Okay.   And Experian doesn't pay HRRG for the

        7     data that it contributes described in Paragraph 1 of

        8     this Exhibit 11; is that correct?

        9        A.    Not that I'm aware of, no.

       10        Q.    Okay.   In Paragraph 1 -- do you see at

       11     Paragraph 1, in the middle of this, it starts out:

       12     "At Experian's request, Data Provider will promptly

       13     verify the accuracy of Data Provider's Records

       14     provided to Experian."

       15              Do you see that sentence?       There, I've made

       16     it blue.   I don't know if you can see that.

       17        A.    Yes.

       18        Q.    Did Experian ever make such a request to

       19     HRRG?

       20              MR. KOHLMYER:     Objection to form.     You can

       21        answer if you know.

       22        A.    Any time we receive a dispute, that would,

       23     in my opinion, be a request to verify the

       24     information.

       25        Q.    Okay.   So any time you receive an ACDV from

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        1     Experian, you view that as a request to verify

        2     information, accuracy of information; is that right?

        3        A.     Yes.

        4        Q.     And you fulfill that responsibility through

        5     the mechanism we looked at earlier as to first

        6     determining whether it's specific or not specific

        7     and then providing certain information; is that

        8     right?

        9        A.     Yes.

       10        Q.     Okay.   Do you see this paragraph here that

       11     says:    "Where applicable, Experian and the credit

       12     reporting industry expect all data contributors to

       13     report collection accounts as 'paid collection'

       14     transactions when they are paid."

       15               Do you see that?

       16        A.     Yes.

       17        Q.     And it says:    "The information should not be

       18     deleted unless required by law.        Although this may

       19     seem like a valuable consumer service and helps you

       20     collect on a debt, it is a disservice to our credit

       21     granting clients for Experian to allow the deletion

       22     of this valuable collection information."

       23               Do you see that?

       24        A.     I do.

       25        Q.     Has HRRG ever deleted information that is

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        1     described in this Exhibit 11?

        2              MR. KOHLMYER:     Object to form.     You can

        3        answer if you know.

        4        A.    No.

        5        Q.    Do you know why Experian includes this

        6     provision in its contracts?

        7              MR. KOHLMYER:     Object to form.     You can

        8        answer if you know.

        9        A.    No, I don't know.

       10        Q.    Okay.   At the bottom it says:       "For these

       11     reasons, if your company is deleting valid

       12     collection information, or charging fees to delete

       13     information, or both, Experian reserves the right to

       14     terminate this Agreement immediately and remove Data

       15     Provider's Records from our credit reporting

       16     system."

       17              Do you see that?

       18        A.    I do.

       19        Q.    Has Experian ever terminated a data services

       20     agreement entered into with HRRG?

       21        A.    Not that I'm aware of, no.

       22        Q.    Okay.   Mr. Brennan, do you know

       23     approximately how many disputes HRRG, or ARS in this

       24     case, receives in a month?

       25              MR. KOHLMYER:     Object to form.     You can

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        1        answer if you know.

        2        A.     I can give you an estimate.      It varies, of

        3     course, from month to month, but I believe right

        4     around 30,000.     No, I take that back.      I'd have to

        5     double-check my figures.      It might be more like

        6     10,000.

        7        Q.     Okay.   And I understand it's an estimate,

        8     but, roughly, it's in the thousands or tens of

        9     thousands with respect to the number of disputes

       10     that ARS gets in a given month; is that right?

       11               MR. KOHLMYER:    Object to form.     You can

       12        answer if you know.

       13        A.     In the thousands, yes.

       14        Q.     Okay.   Are there a group of employees or an

       15     employee at ARS that is tasked with handling

       16     disputes?

       17        A.     Yes.

       18        Q.     Can you give me their names?

       19               MR. KOHLMYER:    Object to form.     You can

       20        answer if you know.      I don't think there is a

       21        time period but --

       22        Q.     Well, that's fair.     Let's say in the last

       23     five years, do you know of which employees at ARS --

       24     tell me what you can remember.       It's not a memory

       25     test.

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        1        A.    In the last five years, yeah, there are

        2     numerous.    You know, we've had turnover, of course.

        3     We've --

        4        Q.    When you say numerous, is it more than a

        5     dozen or less than a dozen?

        6        A.    Over five years?     I would say more than a

        7     dozen, sure.

        8        Q.    Okay.   Can you recall the names of any

        9     employees who were tasked with handling disputes at

       10     ARS in the last five years?

       11        A.    Sure.   Nicholas Greaves, Aurelia Arias, Ruth

       12     Melendez, Lisabet Pardo Estrada, Nisha Nurenojet,

       13     Chinkere Anderson, Ivana Casias, Candice Bell.          I'd

       14     have to check the date but possibly Edward Millsats.

       15              Off the top of my head, that's --

       16        Q.    That's impressive off the top of your head.

       17     Are these all employees of ARS or are they

       18     third-party independent contractors?

       19        A.    They're employees of ARS, or were.

       20        Q.    Are the -- okay.     Is -- did you say Chinkere

       21     Anderson; is that right?

       22        A.    Chinkere.

       23        Q.    Chinkere Anderson.      Is Chinkere Anderson

       24     still employed by ARS?

       25        A.    No.

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        1        Q.    When was Chinkere Anderson last employed by

        2     ARS, do you know?

        3        A.    No, honestly, I don't.

        4        Q.    Do you know what company or -- do you

        5     know -- do you know where Chinkere Anderson is

        6     today?

        7        A.    No, I don't.

        8        Q.    What city or state?

        9        A.    No, I don't.

       10        Q.    Does ARS outsource any of the dispute

       11     resolution services to other companies?

       12        A.    No.

       13        Q.    Okay.   Are -- how are the folks who handle

       14     disputes paid?    I guess what I'm getting at is are

       15     they -- are they paid on a per dispute basis, or are

       16     these salaried or hourly employees whose

       17     compensation isn't tied to the number of disputes

       18     they resolve?

       19        A.    They're hourly employees.

       20        Q.    So is there any sort of a commission that's

       21     paid to employees that is tied to the number of

       22     disputes they handle?

       23        A.    No.

       24        Q.    Okay.   Are they bonused on that basis?

       25        A.    No.

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        1        Q.    Okay.   Do they have quotas, either daily or

        2     monthly, that they have to fulfill in terms of the

        3     number of disputes they handle?

        4        A.    No.

        5        Q.    So when there is a large volume of disputes

        6     and there is a handful of people handling them, do

        7     you have an estimate of how many disputes ARS

        8     employees typically handle in a given day?

        9              MR. KOHLMYER:     Object to form.     You can

       10        answer if you know.

       11        A.    On average, maybe 200.

       12        Q.    Are they literally done on an individual

       13     basis, or is there some sort of a batch format that

       14     resolves -- that disputes can be sort of resolved on

       15     a batch basis?    Do you know what I'm getting at?

       16        A.    No, I'm not sure I understand.

       17        Q.    Is there a -- is there a protocol or a

       18     practice that would allow an employee to resolve

       19     disputes en masse?     Is there a program or a system

       20     that would allow them, or are they done

       21     individually?

       22        A.    They're done individually.

       23        Q.    Okay.   You understand that the plaintiffs in

       24     this case contend that they disputed information on

       25     their credit reports, right?

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        1        A.    Yes.

        2        Q.    Just let's look at an example.        Let me pull

        3     up Exhibit 18 for a minute.

        4              (Brennan Exhibit 18 was marked for

        5     identification.)

        6              MR. TELLIS:    Jonas, I don't see Exhibit 18.

        7        Can you pull it up?      Can you scroll down to --

        8        stop there for a minute.

        9     BY MR. TELLIS:

       10        Q.    I'm showing you, Mr. Brennan, a letter dated

       11     July 26, 2017.    It's sent by Amanda Clements, Bates

       12     numbered Clements-Exp 00013.

       13              Have you ever seen this document before?

       14        A.    I reviewed it, yes.

       15        Q.    Did you review it in 2017 -- let me back --

       16     when is the first time you reviewed it?

       17        A.    I can't tell you the exact date.        It wasn't

       18     when it was received but --

       19        Q.    Okay.   Was it in connection with this

       20     litigation or contemporaneous with the collection of

       21     the debt?

       22        A.    It was with regard to the litigation.

       23        Q.    Okay.   So you don't recall -- do you know

       24     whether anyone at ARS reviewed this document at or

       25     around the time it was sent in 2017?

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        1        A.     Was it sent to ARS or was it sent to the

        2     bureau?

        3        Q.     That's a good question.      But either --

        4     either if it did and it was then transmitted or not,

        5     do you know whether anyone at ARS ever reviewed the

        6     document itself?

        7        A.     If it was sent directly to us, then it would

        8     have been reviewed, yes.

        9        Q.     When -- when a credit -- let's take

       10     Experian.    When Experian sends an ACDV, does it

       11     attach the actual dispute letter that let's say it

       12     receives from a consumer?

       13        A.     In some cases, yes.

       14        Q.     Well, if there is no letter attached, what

       15     information does ARS utilize to determine if the

       16     dispute is specific or not?

       17        A.     Well, that goes back to what I was saying

       18     about the different codes that are received.          It

       19     could say "inaccurate information," "not mine."

       20     There are a number of different dispute types.

       21        Q.     So am I correct then that the determination

       22     of whether a dispute is specific or not at ARS is

       23     not determined in every case by reviewing the

       24     letter, assuming there was a letter, that was sent

       25     in by a consumer?

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        1        A.    Could you ask me that again?

        2        Q.    Sure.   Let's put it this way.       If a letter

        3     was submitted by a consumer to a credit reporting

        4     agency and the credit reporting agency then

        5     transmitted it to ARS as part of an ACDV, would

        6     that -- the contents of that letter be taken into

        7     account by ARS in determining whether the dispute

        8     was specific or not?

        9        A.    Yes, you are required to view any images

       10     that are attached to the response, so they would

       11     have had to have read it and determined how best to

       12     respond to it.

       13        Q.    Okay.   And that's part of the protocol or

       14     expectation HRRG has of its employees who are

       15     resolving disputes?

       16        A.    Yes.

       17        Q.    Okay.   Looking at this exhibit and reading

       18     the sentence that's there:       "Hello, I think the

       19     above listed account is not accurate.         I think it

       20     has been re-aged.     Please investigate and fix or

       21     delete."

       22              Do you see that?

       23        A.    Yes.

       24        Q.    Do you consider that a specific or a not

       25     specific dispute?

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        1        A.    I suppose I would consider it specific.

        2        Q.    Okay.    And what is it about the letter that

        3     would lead you to be believe it's specific?

        4        A.    Well, they have a specific dispute.         It's

        5     not a generic "this isn't mine," "I don't owe it,"

        6     "it needs to be redacted."

        7        Q.    Okay.    So let's look at an ACDV for a

        8     minute, Exhibit 17, if I can click that off and go

        9     to Exhibit 17.

       10              (Brennan Exhibit 17 was marked for

       11     identification.)

       12     BY MR. TELLIS:

       13        Q.    Mr. Brennan, I've placed -- I've marked as

       14     Exhibit 17 a document Bates numbered on the first

       15     page Santos-Exp 000421.

       16              MR. TELLIS:    Actually, let's skip that for a

       17        minute.    I'm sorry, Madam Court Reporter.        I'm

       18        going to go to Exhibit 16 instead.

       19              (Brennan Exhibit 16 was marked for

       20     identification.)

       21     BY MR. TELLIS:

       22        Q.    This is an ACDV Bates numbered Clements-Exp

       23     00241 through -- actually, the last page is 241.

       24     You'd think I've taken a deposition before.          239

       25     through 241.     Do you see this document?

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        1        A.    Yes.

        2        Q.    And does this appear to be -- at the top of

        3     the page it says "ACDV Response," and below that,

        4     under "Consumer identification," it says "Amanda

        5     Clements."

        6              Do you see that?

        7        A.    Yes.    I'm going to enlarge it just a bit, if

        8     you can give me a moment.

        9        Q.    Sure.

       10        A.    Okay.

       11        Q.    Now, this appears -- does this appear to you

       12     to be an ACDV response that was completed by ARS

       13     with respect to Plaintiff Amanda Clements?

       14        A.    Yes, it does.

       15        Q.    Okay.    On the top left-hand corner there is

       16     a run date of February 21st, 2008.        Do you see that?

       17        A.    Yes, 2018.

       18        Q.    I'm sorry, 2018.     What is a run date?

       19        A.    You know, I've not been asked that.         I'm not

       20     sure if that's the date that we responded or the

       21     date that it was received.

       22        Q.    Okay.    Then look at the dates on the far

       23     right under the column "Date Sent."        May 9th, 2017,

       24     what is that date referring to?

       25        A.    Okay.    That would be the date that it was

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        1     sent to us, I believe.

        2        Q.    Okay.   By whom?

        3        A.    By e-OSCAR.

        4        Q.    Okay.   And then there is a due date of

        5     May 25th, 2017.     What date is that?

        6        A.    That would be the date that we are expected

        7     to respond to it by.

        8        Q.    Okay.   And there is, in bold, a DNR date of

        9     May 25th, 2017 also.      What is a DNR date?

       10        A.    I believe it stands for did not respond

       11     date.   I'm not positive of that.       It's basically the

       12     date that it was due and I believe if it's not

       13     responded to by that date, then it's considered a

       14     nonresponse.

       15        Q.    Okay.   Okay.    So let's -- let's -- the

       16     document -- the dispute letter I showed you a moment

       17     ago for Ms. Clements, which we marked as Exhibit 18,

       18     was dated July 26, 2017.      Judging from the dates on

       19     the right-hand side here, do you believe this

       20     response that we're looking at on page 239 followed

       21     that dispute if the date of that dispute was

       22     July 26th, 2017?

       23        A.    No.

       24        Q.    And that's because these dates that are in

       25     the right-hand corner precede July 26th, 2017,

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        1     right?

        2        A.    Correct.

        3        Q.    All right.    So then let's go to the next

        4     one, which is on 240.      Do the dates that are

        5     contained in the right-hand side here lead you to

        6     believe that this response was prepared following

        7     the July 26, 2017 dispute letter?

        8        A.    I'm sorry.    Could you repeat the question?

        9        Q.    Yeah.    I showed you on -- I showed you on

       10     Exhibit 7 -- 18 that Ms. Clements sent a dispute

       11     letter that was dated July 26th, 2017.

       12        A.    Right.

       13        Q.    If you assume that created an ACDV that came

       14     to ARS, looking at the dates that are on the

       15     right-hand side here on page 240, do you believe

       16     this response was generated following the receipt of

       17     that letter?

       18        A.    No.

       19        Q.    Okay.    Then let's go to the third page here,

       20     which is Bates numbered Clements-Exp 241, and you

       21     see on the right-hand side here you now have dates

       22     that are in August of 2017?

       23        A.    Yes.

       24        Q.    Do you believe that this ACDV response

       25     followed the Exhibit 18 letter that was dated

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        1     July 26, 2017?

        2        A.    Well, yes, it followed it.       I don't know if

        3     it was directly as a result of that letter or if

        4     there was another dispute in between, but it

        5     definitely followed the letter.

        6        Q.    Okay.   All right.    Now, the letter I sent

        7     you -- well, skip that.

        8              So on this particular page, there's -- at

        9     the top in the middle it says "Document Viewed" and

       10     there is a letter Y in it.       Do you see that?

       11        A.    Yes.

       12        Q.    What is that referring to?

       13        A.    I believe that means that there was a

       14     document attached to the dispute and that the

       15     responder did view the document.

       16        Q.    Okay.   And as I think you testified earlier,

       17     it's your expectation or the company's expectation

       18     that if documents were attached to an ACDV, the

       19     person handling the dispute would be reviewing that

       20     document; is that right?

       21        A.    Correct.

       22        Q.    Okay.   So in this case, can you tell from

       23     this document who was assigned to address or resolve

       24     this particular ACDV?

       25        A.    Chinkere Anderson.

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        1        Q.    Okay.   And you see that in the right-hand

        2     side under "Authorized Verifier."        Is that right?

        3        A.    Correct.

        4        Q.    Okay.   If a person did not view any

        5     documents that were attached to the ACDV, what would

        6     be contained in the box to the right of the row

        7     "Document Viewed"?     Would it say N or would it be

        8     blank?

        9        A.    I honestly don't know.      I believe it is

       10     blank.

       11        Q.    Okay.   All right.    This particular ACDV

       12     pertains to, in the middle of the page, Account

       13     Number 71788939.     Is that right?

       14        A.    Yes.

       15        Q.    Okay.   Now, at the bottom -- or the middle

       16     of the page there are three columns.        The far right

       17     column says "Consumer Claims," the middle column

       18     says "On Profile," and the left-hand column says

       19     "Subscriber Response."

       20              Do you see that?

       21        A.    Yes.

       22        Q.    Okay.   What is the column that is entitled

       23     "On Profile" referring to?

       24        A.    I believe that is what the bureau is showing

       25     on their profile of this particular account.

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        1        Q.    Okay.   And then to the left, "Subscriber's

        2     Response" is referring to whose information?

        3        A.    That would be our response, ARS.

        4        Q.    All right.    So in those two columns, about

        5     the bottom of the page -- the bottom third of the

        6     page is an entry called "Open Date" and it has a

        7     date of March 25th, 2013.      Do you see that?

        8        A.    Yes.

        9        Q.    What is that date referring to?

       10        A.    That should correspond with the date the

       11     account was listed with our office.

       12        Q.    Okay.   That's the date that your office

       13     opened an account that was submitted to it by a

       14     creditor; is that right?

       15        A.    Correct.

       16        Q.    Is there a date on this document that we're

       17     looking at that would reflect the date that that

       18     account was first submitted to Experian?

       19        A.    I don't believe so.

       20        Q.    Okay.

       21        A.    I can't see the whole document, but from

       22     memory I don't recall there was a first reported

       23     date on there.

       24        Q.    Okay.   But you opened the account on

       25     March 25th, 2013, and I think you testified earlier

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        1     it would have been your expectation that information

        2     on this account would have been submitted to

        3     Experian approximately 60 days later; is that right?

        4        A.    Correct.

        5        Q.    So that would have put us in May or so of

        6     2013.

        7              On the middle -- on the top part of that

        8     same area we're looking at there is a "Balance" line

        9     that has a date under the "On Profile" -- in the "On

       10     Profile" column of July 11, 2017.        Do you see that?

       11        A.    Yes.

       12        Q.    Do you know what that date is referring to?

       13        A.    I would -- that's, again, what the bureau is

       14     showing on their profile, so I would be assuming,

       15     but I'd have to say it's the date that they show

       16     that the balance was verified last.

       17        Q.    Okay.   So when an ACDV like this comes to

       18     ARS for a response, the information in the "On

       19     Profile" column is already populated as it's

       20     reflected here; is that right?

       21        A.    I believe so, yes.      Well, I don't -- I

       22     actually -- the ACDVs are created in response, you

       23     know, but I believe that information is there, yes.

       24        Q.    Okay.   And then ARS provides its response in

       25     the column "Subscriber Response," right?

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        1        A.    Correct.

        2        Q.    Okay.   Do ARS employees receive training on

        3     the preparation of an ACDV response?

        4        A.    Yes.

        5        Q.    Who does that training at ARS?

        6        A.    Well, the training is done through e-OSCAR.

        7     They have an online portal and then documentation.

        8     We have a team lead who has been with us for a long

        9     time, so when we bring someone new in, they

       10     generally train with the team lead.

       11        Q.    What about FCRA compliance?       You know what

       12     FCRA is, right?

       13        A.    Yes.

       14        Q.    What is FCRA?

       15        A.    Fair credit reporting.

       16        Q.    Do ARS employees receive any training on

       17     FCRA compliance?

       18        A.    Yes.

       19        Q.    Who does that training?

       20        A.    That's handled by one of our training

       21     supervisors.

       22        Q.    And in the past five years has it been the

       23     same person or is that -- is there turnover in that

       24     position as well?

       25        A.    It's been the same person.

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        1        Q.    Who is that person?

        2        A.    That would be Kathleen Jadad.

        3        Q.    And how often does that training occur?

        4        A.    That training is given whenever someone

        5     starts with us and then we do an annual review.

        6        Q.    And is it done on an individual employee

        7     basis or is it done in a group setting?

        8        A.    It depends on the situation.       If we had

        9     several new hires, then it would be a group

       10     situation.    If it's just one person, then it would

       11     be one-on-one.

       12        Q.    So if it's done on an annualized basis,

       13     would it be safe to say that the last one that

       14     occurred was in 2019?

       15        A.    Yes.

       16        Q.    Okay.   Is there a time of the year that it's

       17     typically done?

       18        A.    It's generally done in or around June or

       19     July.   I don't recall the exact date we did it.

       20        Q.    Are there written materials that are

       21     prepared for that training?

       22        A.    I believe so, but it is an online training

       23     program as well.

       24        Q.    Does ARS sort of conduct any audits on FCRA

       25     compliance?

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        1        A.    We do call audits, yes.

        2        Q.    What's a call audit?

        3        A.    We routinely audit telephone calls of our

        4     agents handling collection calls to make sure that

        5     they are in compliance.

        6        Q.    Okay.    And then is there an audit report

        7     that's prepared?

        8        A.    Yes.

        9        Q.    And how often is that done?

       10        A.    Audits are done daily.

       11        Q.    Is there someone in the company that's in

       12     charge of auditing for FCRA compliance?

       13        A.    Yes.

       14        Q.    Who is that person?

       15        A.    Again, it'd be Kathleen Jadad.

       16        Q.    Okay.    Does H -- does ARS receive more

       17     disputes from one credit bureau versus another?

       18              MR. KOHLMYER:     Object to form.     You can

       19        answer if you know.

       20        A.    I honestly don't know.

       21        Q.    Let's turn back to this ACDV for a minute.

       22     So in the "Dispute Reason" box at the top of the

       23     page, it says:     "112 - Claims inaccurate

       24     information.     Did not provide specific dispute.

       25     Provide complete ID and verify account information."

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        1              Do you see that?

        2        A.    Yes.

        3        Q.    Who enters that information on this ACDV

        4     response?

        5        A.    I'm not sure if that's entered by the bureau

        6     or e-OSCAR, but one of the two.

        7        Q.    But it's your testimony that that's not

        8     entered by HRRG or ARS?

        9        A.    Correct.

       10        Q.    Okay.   And then does ARS or HRRG rely on

       11     that dispute reason to determine how to respond to

       12     an ACDV?

       13        A.    Yes.

       14        Q.    Okay.   So in this particular case, either

       15     e-OSCAR or the credit bureau determined that this

       16     particular dispute was not specific; is that right?

       17        A.    That's what the document says, so yes, I

       18     would assume so.

       19        Q.    And that determination influences the way in

       20     which HRRG responds?

       21        A.    Yes.

       22        Q.    Does HRRG or ARS do anything to determine

       23     whether that's accurate, the assessment that's

       24     stated there as the dispute reason?

       25        A.    No, that's provided to us.       We assume it's

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        1     accurate but --

        2        Q.    Okay.   So if you assume that there was a

        3     dispute letter attached to this document that was

        4     viewed by -- is that Ms. Anderson or Mr. Anderson?

        5        A.    Ms.

        6        Q.    So if you assume that Ms. Anderson reviewed

        7     the document that was attached, for what purpose was

        8     she reviewing it?

        9        A.    To review it to see if there was any

       10     specific information in the dispute.

       11        Q.    And if she disagreed with the assessment as

       12     to whether it was specific or not, what did you --

       13     did you have an expectation of what she would do

       14     about that?

       15        A.    I'm not sure I understand the question.

       16        Q.    Well, this "Dispute Reason" category says

       17     "did not provide specific dispute," right?

       18        A.    Correct.

       19        Q.    If a reviewer reviews a document that's

       20     attached that suggests that the bureau or e-OSCAR

       21     got that wrong, what do they do about it?

       22        A.    Well, they're going to base their response

       23     on the document.

       24        Q.    On the attached document?

       25        A.    Correct.

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        1        Q.    Not this assessment that's done by the

        2     credit bureau or e-OSCAR?

        3        A.    Correct.    Again, it's a code.      There are

        4     multiple codes and I believe in a lot of cases they

        5     are considered generic, but yes.

        6        Q.    Okay.   So I just want to make sure I got

        7     this right, because I think you testified

        8     differently earlier.

        9              So does ARS rely on the description of the

       10     dispute as being specific or not that is made in

       11     this box by the bureau or e-OSCAR in determining how

       12     to respond?

       13        A.    Let me clarify.     Do you see the code 112?

       14        Q.    Yes.

       15        A.    Okay.   And then there is a general

       16     description of the dispute reason.        There are

       17     multiple codes, so yes, the codes are looked at and

       18     the documents are looked at.       Each is looked at and

       19     the codes determine more than the description?

       20        Q.    Okay.   So under "Response" in the middle of

       21     the page, it says:     "24 - Change-Cons disp not

       22     specific:    ID verified.    Account info verified."

       23              Do you see that?

       24        A.    I do.

       25        Q.    Who entered that information on this

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        1     response?

        2        A.    That would have been Chinkere Anderson.

        3        Q.    Okay.    So is that -- is that code driven as

        4     well, she gets to pick from a menu of codes and in

        5     this case she picked number 24 and that's the

        6     description that is identified -- or that is

        7     associated with code 24?

        8        A.    Yes.    Correct.

        9        Q.    Okay.    And what does "Cons disp" mean?

       10        A.    Well, I believe there is a hyphen there.          So

       11     I believe it's "change hyphen," and I'm assuming

       12     that "Cons disp" means consumer dispute.

       13        Q.    So this says "change consumer dispute not

       14     specific," is that how I'm supposed to read that?

       15        A.    Yes.    I don't know if "change" goes along

       16     with the 24 meaning, it's a change to a prior

       17     response code, but yes, "24 - change consumer

       18     dispute not specific," yes.

       19        Q.    So Ms. Anderson chose that code after

       20     reviewing the information that she received from

       21     e-OSCAR; is that right?

       22        A.    Correct.

       23        Q.    Okay.    And then it goes on to say:       "ID

       24     verified.    Account info verified."

       25        A.    Correct.

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        1        Q.     Right?

        2        A.     Yes.

        3        Q.     Okay.    That is -- that is referring to an

        4     act that was taken on the part of Ms. Anderson.          She

        5     identified -- she verified the identity and the

        6     account info; is that correct?

        7        A.     Correct.

        8        Q.     And then she populates the information

        9     that's in the subscriber response?

       10        A.     I don't know if it's prompted by the

       11     response itself or if they manually go in and do

       12     that.    I'd have to double-check.

       13        Q.     Okay.    Okay.

       14        A.     There may still be information there.

       15        Q.     Okay.    And then down at the bottom of the

       16     page there are two grids.      One is called a "Response

       17     History Grid" and one is "On-File History Grid."

       18     Right?

       19        A.     I can't see it.

       20        Q.     You can't see the -- can you see below the

       21     "Subscriber Response" column at the bottom third of

       22     the page there are --

       23        A.     The last thing that I can see is the

       24     open-close date towards the bottom there, unless

       25     it's in there and I'm not seeing it.

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        1        Q.     Where do you see open close date?

        2        A.     Correct.    The bottom line of the document

        3     that I can see from my end says "Open Date, Closed

        4     Date, 3/25/2013."

        5        Q.     Oh, yeah.    Okay.    So are you able to see my

        6     screen?

        7        A.     Yeah.   I'm looking at the document.       I'm

        8     just saying I can't see the section you're referring

        9     to.   I think you might need to scroll it.

       10               MR. MANN:    Is your window not maximized?

       11        Because I can see the whole document.

       12        Q.     Can you --

       13        A.     Let me try.    Give me one second.     Yeah, I

       14     have it at 100 percent.        Let me try something else

       15     here.   Give me one second.       All right.   Give me one

       16     second.

       17        Q.     Sure.

       18        A.     Yeah, there is a tool bar.      I'm trying to

       19     get around it here.      I apologize.    Just give me a

       20     moment.

       21        Q.     Sure.   No problem.

       22        A.     It doesn't matter how much I zoom it, I

       23     still can only see that section.        I don't know what

       24     I'm doing wrong.      I'm not able to -- the document

       25     itself.

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        1              MR. TELLIS:    Jonas, are you able to bring up

        2        one on your side?      Maybe that helps.

        3              MR. MANN:    I can also -- I can e-mail you

        4        the document directly and you can open it in a

        5        separate -- your regular -- your computer -- in

        6        Acrobat if you want.

        7              MR. KOHLMYER:     Whatever you prefer.

        8              MR. MANN:    Or if you have them printed out,

        9        you can look at --

       10        A.    Oh, wait.    There we go.     Never mind.    I got

       11     it.   I got it.    I apologize.    I'm not -- I have it.

       12        Q.    That's fine.     No problem.    Okay.   So you see

       13     the bottom third or so of this document there are

       14     two grids, one is called "Response History Grid" and

       15     one is "On-File History Grid"?

       16        A.    I do, yes.

       17        Q.    Okay.    What is the -- what are those two

       18     grids intended to refer to?

       19        A.    I would --

       20              MR. KOHLMYER:     Object to form.     You can

       21        answer if you know.

       22        A.    I'm not completely certain of what those for

       23     -- are for.

       24        Q.    Well, who completes the On-File History Grid

       25     and who completes the Response History Grid, do you

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                                     117
        1     know?

        2        A.    I would believe that the bureaus complete

        3     the On-File History Grid and that the Response Grid

        4     is completed in regards to our responses.

        5        Q.    Do you know, in the Response History Grid

        6     that ARS typically completes, do you know what is

        7     typically contained in the boxes under the months

        8     and years, are they letters or numbers or something

        9     else?

       10        A.    I honestly don't know.

       11        Q.    So you don't know what choice of information

       12     Ms. Anderson, let's say, had to complete this

       13     Response History Grid?

       14        A.    I don't believe that she actually goes into

       15     the grid itself and deletes anything.         I think that

       16     it's supposed to be autopopulated by the response.

       17        Q.    Right.   So if we assume that this grid is

       18     intended to show the history of this particular

       19     account, how could it be blank in August of 2017 if

       20     this account was opened back in 2013?

       21              MR. KOHLMYER:     Object to form.     You can

       22        answer if you know.

       23        A.    I don't know.

       24        Q.    Do you -- have you ever seen an ACDV where

       25     information was included in the Response History

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                                     117
        1     Grid?

        2        A.    Not that I recall, no.

        3        Q.    Okay.   I take it that if there are a

        4     choice -- if there is sort of a menu of codes or

        5     letters that can be used to complete the Response

        6     History Grid, they would be in the training

        7     materials or the software materials used to respond

        8     to an ACDV?

        9        A.    If it's an available -- or something that

       10     our responders are responsible for, it should be in

       11     there, yes.

       12        Q.    Okay.   Do you know the process?       So, for

       13     example, when we look at the response we looked at,

       14     there is a Code Number 24 and then there is a

       15     response.    Is that manually typed in or are there

       16     dropdown menus in e-OSCAR that allows you to click

       17     and fill?

       18        A.    I believe it's a dropdown menu, but without

       19     actually seeing it, I'm not 100 percent certain.

       20        Q.    Okay.   Is it -- is it surprising to you that

       21     an account that had a history of some four years

       22     before this particular ACDV was prepared would have

       23     nothing in the response history grid?

       24              MR. KOHLMYER:     Object to form.     You can

       25        answer.

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                                     117
        1        A.    Am I surprised by it?      I don't know what

        2     it's specifically used for, so, no, I'm not

        3     surprised.

        4        Q.    Okay.   You don't.    Who in the company would

        5     be most knowledgeable about what is supposed to go

        6     into this Response History Grid on an ACDV?

        7              MR. KOHLMYER:     Object to form.     You can

        8        answer if you know.

        9        A.    Again, I don't believe this is something

       10     that we're responsible for, so I don't know.          I

       11     would have to check with the individuals or possibly

       12     their team lead to see if it's something they are

       13     trained on.

       14        Q.    You don't think that a column entitled

       15     Response History Grid is something that ARS is

       16     responsible for?

       17        A.    Again, as I said, I don't know what this is

       18     for, so I would have to do some checking to find

       19     out.

       20        Q.    Okay.   Is there someone you would typically

       21     call to find out that information?

       22        A.    I could ask my team lead if this is

       23     something that they fill out, yes.

       24        Q.    Who is your team lead?

       25        A.    Her name is Aurelia Arias.

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                                      117
        1         Q.    Was she the team lead in 2017?

        2         A.    Yes.

        3         Q.    Mr. Brennan, has ARS had any communications

        4     with Experian about the way its data is reported?

        5     And more specifically, you understand that in this

        6     case the plaintiffs contend that certain information

        7     contained in their credit profiles and credit

        8     reports are incorrect, mainly the data status and

        9     the first response date, you understand that, right?

       10         A.    Yes.

       11         Q.    Has anyone at ARS ever discussed that issue

       12     with anyone at Experian, to your knowledge?

       13         A.    How the information is being reported?

       14         Q.    Yes.

       15         A.    Yes.

       16         Q.    Who has had that conversation?

       17         A.    Any conversations regarding the data would

       18     be handled by Gregory Preston.        He works directly

       19     with each of the bureaus.

       20         Q.    And do you know whether Mr. Preston has

       21     discussed the issue that the plaintiffs complain

       22     about here with anyone at Experian?

       23         A.    I'm not certain if he has or hasn't, no.

       24         Q.    Okay.   Has the issue that the plaintiffs

       25     complain about here, namely the changing of dates of

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                                      117
        1     status and first report -- first report dates and

        2     the deletion of account histories, has that ever

        3     been raised with respect to any other credit

        4     reporting agency that you're aware of?

        5         A.    No, it hasn't.

        6         Q.    Okay.   Prior to the filing of the complaint

        7     that we're taking your deposition in today, had you

        8     ever heard of this issue that the plaintiffs are

        9     complaining about, namely that Experian is changing

       10     certain dates, data status, first reported date, and

       11     deleting account history?

       12         A.    No.

       13         Q.    Are you aware that ARS and Experian were

       14     sued by more than a dozen plaintiffs two years or so

       15     ago, in 2018, in Texas in a case complaining about

       16     similar issues?

       17         A.    I don't recall the case.

       18         Q.    Okay.   Have you ever been deposed in an

       19     action where the plaintiffs were alleging that

       20     Experian had changed dates of status and first

       21     report dates on their credit profiles?

       22               MR. KOHLMYER:     Object to form.     Are you

       23         referring to him individually?

       24               MR. TELLIS:    Yes.

       25               MR. KOHLMYER:     You can answer if you know.

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                                      117
        1         A.    No.

        2         Q.    Has HRRG made any changes to the way it

        3     completes ACDV responses with respect to information

        4     obtained by Experian in the last five years?

        5               MR. KOHLMYER:     Object to nature of the form.

        6         To the extent that any changes were at the

        7         direction of counsel or legal advice, I instruct

        8         you not to answer.      Outside of that, you're

        9         welcome to answer.

       10         A.    The bureaus will -- well, periodically the

       11     codes will change, the response and dispute codes,

       12     so those are updated, and, of course, we change to

       13     reflect that.

       14         Q.    Okay.   But has Experian ever asked ARS or

       15     HRRG to change the way it reports information, say,

       16     pertaining to the dates of delinquency on consumers'

       17     accounts?

       18         A.    Not that I'm aware of, no.

       19         Q.    Has Experian ever asked ARS to change the

       20     manner in which it responds to ACDVs in the past

       21     five years?

       22         A.    Not that I'm aware of, no.

       23         Q.    Okay.

       24               MR. TELLIS:    Let's take a quick break and,

       25         Mr. Kohlmyer, I'm probably nearing the end of my

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        1         questioning.

        2                MR. KOHLMYER:    Okay.   Thank you.

        3                THE VIDEOGRAPHER:     The time is 12:52.     We

        4         are off the record.

        5              (Recess from 12:52 p.m. until 1:02 p.m.)

        6                THE VIDEOGRAPHER:     The time is 1:02.     We are

        7         back on the record.

        8                MR. TELLIS:    Mr. Brennan, those are the

        9         questions I have for you today.        Thanks for your

       10         time.

       11                THE WITNESS:    Thank you.

       12                MR. TELLIS:    I'll pass the witness.

       13                THE VIDEOGRAPHER:     Does anybody else have

       14         questions?

       15                MR. TAYLOR:    This is Will Taylor with

       16         Experian.    Skip, I don't know if you had anything

       17         but I did have a couple of questions.

       18                MR. KOHLMYER:    I don't have any questions.

       19         I'll wait to follow up with you.        I don't have

       20         any at this time.

       21                           CROSS-EXAMINATION

       22     BY MR. TAYLOR:

       23         Q.     Well, good afternoon, Mr. Brennan.        My name

       24     is Will Taylor.      As I stated before, I represent

       25     Experian Information Solutions, Inc., in this

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        1     lawsuit, the codefendant.        I wanted to just ask you

        2     a couple of quick questions related to the concept

        3     of reaging that was discussed at the beginning of

        4     the testimony.

        5               Now, do you have an understanding of how

        6     long a collection account can report on a consumer

        7     report?

        8         A.    It's typically --

        9               MR. TELLIS:    Objection.     Object to form.

       10         A.    It's typically seven years from the date of

       11     delinquency.

       12         Q.    And have you heard of that referred to as an

       13     account aging off a report based on how long it's

       14     been reporting?

       15               MR. TELLIS:    Object to form.

       16         A.    Yes.

       17         Q.    Now, the accounts at issue in this case for

       18     plaintiff Santos and Clements were collection

       19     accounts, correct?

       20         A.    Yes.

       21         Q.    And do you understand that when an account

       22     ages off a consumer report and is no longer

       23     reported, it is based off of a specific date that is

       24     provided by the furnisher?

       25               MR. TELLIS:    Object to form.

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                                      117
        1         A.    That's my understanding, yes.

        2         Q.    Thank you.    And which date is that?

        3         A.    The date of delinquency.

        4         Q.    Okay.   And I think we saw a couple

        5     references to the date of delinquency in some of

        6     HRRG's internal documents, I think it was Exhibit 7.

        7     Is it your understanding that the date of

        8     delinquency for both plaintiffs Santos and Clements

        9     never changed?

       10         A.    That's correct.

       11         Q.    And is it your understanding that modifying

       12     the date of first delinquency or the date of

       13     delinquency can affect when the account ages off?

       14         A.    Yes.

       15               MR. TELLIS:    Object to form.

       16         Q.    And modifying that date of delinquency is

       17     known as reaging, is that your understanding?

       18         A.    Yes.

       19         Q.    And that's not what's at issue in this case,

       20     correct?

       21               MR. TELLIS:    Object to form.

       22         A.    Correct.

       23         Q.    Rather, plaintiffs are disputing the date of

       24     status and the date of first delinquency as they

       25     appear on a consumer disclosure that goes only to a

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                                      117
        1     consumer.    Is that your understanding?

        2         A.    I believe it's date of status and first

        3     reported date.

        4         Q.    Oh, excuse me.     Yeah.   So let me reask that.

        5               So instead, what's at issue in this case is

        6     the date of status and the date first reported that

        7     appear on a consumer disclosure that goes only to a

        8     consumer; is that correct?

        9         A.    Correct.

       10         Q.    And to your knowledge, does the date of

       11     status or the first reported date affect or have any

       12     impact on when an account ages off of a consumer

       13     report?

       14         A.    Not to my knowledge, no.

       15               MR. TAYLOR:    I have no further questions.

       16                        REDIRECT EXAMINATION

       17     BY MR. TELLIS:

       18         Q.    Okay.   I've got some questions.       Have you

       19     ever seen, Mr. Brennan, any of the credit repots for

       20     the plaintiffs in this case?

       21         A.    No, I haven't.

       22         Q.    Let me -- let me show you a couple.         Let's

       23     take a look at Exhibit 12.

       24               (Brennan Exhibit 12 was marked for

       25     identification.)

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        1     BY MR. TELLIS:

        2         Q.    I've put on the screen a document produced

        3     by Experian Bates numbered Clements-Exp 00022

        4     through 51, and in the heading it says:          "In

        5     response to your recent request, we're pleased to

        6     send you this credit report."

        7               Do you see that?

        8         A.    I do.

        9         Q.    Okay.   And if we scroll down, let's take a

       10     look at page 4 of 30.       Okay.   Do you see at the top

       11     of the page here there is an account associated with

       12     ARS, it's Account Number 71788939?

       13         A.    Yes.

       14         Q.    And to the right of it there are some dates:

       15     Date opened, March 2013.       First reported date, July

       16     2017.    Date of status, July 2017.

       17               Do you see that?

       18         A.    I see it.

       19         Q.    Okay.   And you testified earlier that

       20     typically you report accounts to the credit

       21     reporting agency within 60 days of obtaining it,

       22     right?

       23         A.    Approximately 60 days, yes.

       24         Q.    Okay.   And so do you know on this column

       25     what date opened refers to?

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                                      117
        1               MR. KOHLMYER:     Object to form.     You can

        2         answer if you know.

        3         A.    The date opened is the date that the account

        4     was placed for collection with us.

        5         Q.    And then it says here "First report date,

        6     July 2017."     Do you see that?

        7               MR. KOHLMYER:     Object to form.

        8         A.    I do see it.

        9         Q.    Some four years later; is that correct?

       10         A.    That's what it says, yes.

       11         Q.    Does that appear correct to you?

       12               MR. KOHLMYER:     Object to form.

       13         A.    No.

       14         Q.    Okay.   And then do you see the date of

       15     status below that, it says July of 2017?

       16         A.    Yes, I see that.

       17         Q.    Okay.   Is it your expectation that those two

       18     dates would never change?

       19               MR. KOHLMYER:     Object to form.

       20         Q.    The date of first report and the date of

       21     status?

       22               MR. KOHLMYER:     Same objection.

       23         A.    My understanding is the first reported date

       24     should not change.      A date of status I can see

       25     changing because it's the date that the status was

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                                      117
        1     updated.

        2         Q.    What is your understanding of what date of

        3     status means?

        4               MR. KOHLMYER:     Object to form.

        5         Q.    As Experian uses it?

        6               MR. KOHLMYER:     Object to form.

        7         A.    Experian would have to answer that, but my

        8     understanding is that's the last date that the

        9     information was updated.

       10         Q.    Okay.   Do you see underneath "Payment

       11     History" here there is a 2017 July and it says C?

       12         A.    Yes, I see it.

       13         Q.    And C refers to what, do you know?

       14               MR. KOHLMYER:     Object to form.

       15         Q.    Here is a history legend on page 24 and we

       16     see C says "Collection."       Do you see that?

       17         A.    I see it, yes.

       18         Q.    Is it odd to you that an account payment

       19     history would show collection in 2017 that was first

       20     reported delinquent in 2013?

       21               MR. KOHLMYER:     Object to form.

       22         A.    I -- it does seem odd, yes.

       23         Q.    Okay.   Now, this is for Account Number

       24     71788939.    Do you see that?

       25         A.    Yes.

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                                      117
        1         Q.    And this is dated July 25th, 2017.         Do you

        2     see that?

        3         A.    I'm sorry.    Where are you seeing that date?

        4         Q.    Up here below "Amanda Clements," top

        5     right-hand side of the page, this credit report date

        6     up here in the top right hand corner.

        7         A.    I just had to scroll it.       Yes, I see it.

        8               (Brennan Exhibit 13 was marked for

        9     identification.)

       10     BY MR. TELLIS:

       11         Q.    Okay.   So now with those dates in mind,

       12     let's take a look at another exhibit, which is

       13     Exhibit 13, and I'm showing you what I'm marking as

       14     Exhibit 13, which is Amanda Clements' credit report

       15     dated a month or so later, August 22nd, 2017, Bates

       16     number beginning on 000054.        Do you see that?

       17         A.    Yes.

       18         Q.    And if we scroll down to find that same

       19     account number, we see here on page 4, do you see

       20     the account number is 71788939?

       21         A.    Yes, I see it.

       22         Q.    And now the first reported date says August

       23     2017, whereas the previous report showed July of

       24     2017.    Do you see that?

       25         A.    Yes.

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                                      117
        1         Q.    Does that appear correct to you?

        2               MR. KOHLMYER:     Object to form.

        3         A.    No.

        4         Q.    Okay.   And down here under "Payment

        5     History," we see only August, whereas the prior

        6     report showed July, and it says Collections, August.

        7     Do you see that?

        8         A.    Yes, I see it.

        9         Q.    It appears there is no entry here for the

       10     July collection activity, right?

       11         A.    It would appear so, yes.

       12         Q.    Okay.   Does that look like it's correct to

       13     you?

       14               MR. KOHLMYER:     Object to form.

       15         A.    No.

       16               MR. TELLIS:    Okay.    No further questions.

       17               MR. TAYLOR:    I just have one follow-up.

       18               MR. KOHLMYER:     Go ahead.    Go ahead, Will.

       19               MR. TAYLOR:    Sorry?

       20               MR. KOHLMYER:     Go ahead, Will.

       21                          RECROSS-EXAMINATION

       22     BY MR. TAYLOR:

       23         Q.    Okay.   Just one question:      Mr. Brennan, do

       24     you understand that with respect to Exhibits 12 and

       25     13, that these are consumer disclosures that go only

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        1     to the consumer as opposed to a document or

        2     information that is sent to a third-party creditor?

        3               MR. KOHLMYER:     Object to form.     You can

        4         answer if you know.

        5         A.    I do understand that, yes.

        6               MR. TAYLOR:    No further questions.

        7                           CROSS-EXAMINATION

        8     BY MR. KOHLMYER:

        9         Q.    I've just got one.      Is this a document

       10     that -- and the information provided that was

       11     discussed regarding the entries of first reported

       12     date and date of status, was this document produced

       13     by HRRG?

       14               MR. TELLIS:    No.   It's Bates numbered

       15         Clements-Exp, indicating it was produced by

       16         Experian.

       17               MR. KOHLMYER:     No, that was a question to my

       18         client.

       19               MR. TELLIS:    Oh, I'm sorry.     I'm sorry.

       20               MR. KOHLMYER:     Your answer is even probably

       21         more persuasive, so I'll just leave it at that.

       22         I'll withdraw the question.       That's what --

       23               MR. TELLIS:    I apologize, Counsel.       I

       24         thought you were asking for a clarification.

       25               MR. KOHLMYER:     That's okay.    You gave the

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        1         right answer.     Thanks.

        2               No, I'll have my client read if the

        3         transcript is ordered.

        4               MR. TELLIS:    Okay.    Very good.    Thank you.

        5               THE VIDEOGRAPHER:      The time is 1:13.     We are

        6         now off the record.

        7               (Whereupon, the deposition concluded at

        8     1:13 p.m.)

        9

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        1                        C E R T I F I C A T E

        2               I, Susan D. Wasilewski, Registered

        3     Professional Reporter, Certified Realtime Reporter,

        4     Certified Manager of Reporting Services, Certified

        5     Realtime Captioner, and Florida Professional

        6     Reporter, hereby certify that the witness named

        7     herein appeared remotely on Thursday, May 21, 2020,

        8     and was duly sworn.

        9               I FURTHER CERTIFY that I was authorized to

       10     and did stenographically report the examination of

       11     the witness named herein; that a review of the

       12     transcript was requested; and that the foregoing

       13     transcript is a true record of my stenographic

       14     notes.

       15               I FURTHER CERTIFY that I am not related to

       16     or an employee of any of the parties, nor am I

       17     related to or an employee of any of the parties'

       18     attorneys or counsel connected with this action, nor

       19     am I financially interested in the outcome of this

       20     action.

       21               WITNESS my hand this 27th of May, 2020.

       22

       23            ______________________________________________

       24            Susan D. Wasilewski, RPR, CRR, CMRS, CRC, FPR

       25

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        1                       INSTRUCTIONS TO WITNESS

        2

        3

        4               Please read your deposition over carefully

        5     and make any necessary corrections.         You should

        6     state the reason in the appropriate space on the

        7     errata sheet for any corrections that are made.

        8

        9               After doing so, please sign the errata sheet

       10     and date it.     It will be attached to your

       11     deposition.

       12

       13               It is imperative that you return the

       14     original errata sheet to the deposing attorney

       15     within thirty (30) days of receipt of the deposition

       16     transcript by you.      If you fail to do so, the

       17     deposition transcript may be deemed to be accurate

       18     and may be used in court.

       19

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        1                              - - - - - -

        2                              E R R A T A

        3                              - - - - - -

        4    PAGE    LINE     CHANGE

        5    ____    ____     _________________________________________

        6      REASON: _____________________________________________

        7    ____    ____     _________________________________________

        8      REASON: _____________________________________________

        9    ____    ____     _________________________________________

       10      REASON: _____________________________________________

       11    ____    ____     _________________________________________

       12      REASON: _____________________________________________

       13    ____    ____     _________________________________________

       14      REASON: _____________________________________________

       15    ____    ____     _________________________________________

       16      REASON: _____________________________________________

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       18      REASON: _____________________________________________

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       20      REASON: _____________________________________________

       21    ____    ____     _________________________________________

       22      REASON: _____________________________________________

       23    ____    ____     _________________________________________

       24      REASON: _____________________________________________

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                                      117
        1                     ACKNOWLEDGMENT OF DEPONENT

        2

        3               I, ______________________________, do hereby

        4     acknowledge that I have read the foregoing pages, 1

        5     through 115, and that the same is a correct

        6     transcription of the answers given by me to the

        7     questions therein propounded, except for the

        8     corrections or changes in form or substance, if any,

        9     noted in the attached Errata Sheet.

       10

       11

       12    ________________________________                ________________

       13    PATRICK BRENNAN                                               DATE

       14

       15

       16

       17

       18     Subscribed and sworn to before me this

       19     ____ day of ______________, 20___.

       20     My Commission expires: _________________

       21

       22     ________________________________________

              Notary Public

       23

       24

       25

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